Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 1 of 127   1




      1                       UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
      2                             MIAMI DIVISION
                               CASE NO. 18-cv-60788-JEM
      3

      4     SPRINT COMMUNICATIONS, INC.,
                                   INC.,

      5           Plaintiff/Counterclaim Defendant,

      6           vs.

      7                                                     Miami, Florida
                                                            April 14, 2022
      8     STEPHEN CALABRESE, as an individual,            Pages 1-127
            NEXTEL, INC.,
                    INC., d/b/a NEXTEL WORLDWIDE,           9:53 a.m. - 1:05 p.m.
      9     RETROBRANDS USA LLC,
            JEFFREY KAPLAN, as an individual, and
    10      NEXTEL WORLDWIDE MOBILE, INC.,
                                     INC.,

    11           Defendants/Counterclaimants.
            _______________________________________________________________
    12
                                  TRANSCRIPT OF JURY TRIAL
    13                                     VOLUME 5
                            BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                          UNITED STATES DISTRICT JUDGE

    15      APPEARANCES:

    16      FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
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   Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 2 of 127   2




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               ______________________________________________________________
          4

9:53:29   5                               (Court called to order)

9:53:31   6              THE COURT:    Good morning.    Somebody needed to talk to

9:53:32   7    me?

9:53:34   8              MR. RIOPELLE:    Yes, Your Honor.     We need to go over

9:53:37   9    some exhibits before the testimony today.

9:53:39 10               THE COURT:    All right.

9:53:42 11               MR. RIOPELLE:    These are all exhibits that Defendants

9:53:44 12     disclosed last night to which we have objections.

9:53:47 13               THE COURT:    All right.    Talk to me about them.

9:53:49 14               MR. RIOPELLE:    First one if we could call up is Exhibit

9:53:53 15     5002.

9:54:01 16               THE COURT:    5002, a New York Times article.

9:54:02 17               MR. RIOPELLE:    It's a series of actually New York Times

9:54:09 18     articles and it is hearsay, nor do I understand the relevance.

9:54:12 19               THE COURT:    How are newspaper articles admissible?

9:54:14 20               MR. SCHWARTZ:    Self-authenticating, Your Honor.       It's a

9:54:18 21     website article, 901, digital.       The federal rules now have

9:54:21 22     advanced themselves to discuss how those are self-authenticating

9:54:27 23     by the person who types in the website, looks at it, goes

9:54:30 24     through a foundation, if necessary, that the document on the

9:54:33 25     screen reflects what you've seen and the printout matches and


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                                TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 3 of 127    3




9:54:36   1    the relevance.      That this is part of Mr. Kaplan's investigation,

9:54:41   2    which is at the heart of this case.

9:55:09   3                THE COURT:     901?     What part of 901?

9:55:27   4                MR. SCHWARTZ:     901.1A digital and electronic evidence.

9:55:31   5                THE COURT:     901.1 A.     I don't have a 901.    I have a 901

9:55:42   6    A and a 901 B.      2022 rules, I don't see it.         What are you

9:55:45   7    talking about?

9:55:56   8                MR. RIOPELLE:     I'm also not sure it addresses the

9:56:02   9    issue.     Authentication is not hearsay, there's still hearsay.

9:56:06 10                 MR. KERNELL:     It's not being presented for -- you know,

9:56:11 11     to go to the truth asserted.

9:56:24 12                 THE COURT:     I think you might be talking about 902, Not

9:56:45 13     901.     And you're talking about 902.6?

9:56:54 14                 MR. SCHWARTZ:     Yes, Your Honor. 902, R 6, extension to

9:56:57 15     digital and electronic evidence.

9:56:59 16                 THE COURT:     It doesn't really say anything about

9:57:02 17     digital and electronic.           It says printed material purporting to

9:57:07 18     be a newspaper or periodic.           I mean, I think you may be right

9:57:09 19     that it does include that, but it doesn't say that.             You're

9:57:16 20     telling me stuff that -- never mind.

9:57:19 21                 Okay.   Now the question is what's the relevance of

9:57:22 22     this?

9:57:25 23                 MR. SCHWARTZ:     The relevance, Your Honor, is it

9:57:29 24     supports Mr. Kaplan's investigation and the -- all of the issues

9:57:32 25     that the witnesses have talked about during this trial


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                                 TRANSCRIPT PRODUCED BY COMPUTER
   Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 4 of 127   4




9:57:37   1    concerning the reasons why Sprint abandoned Nextel.

9:57:39   2              THE COURT:    You mean because they were losing money?

9:57:41   3              MR. SCHWARTZ:     Well, there was a variety of reasons,

9:57:44   4    losing money was one of them.

9:57:46   5              THE COURT:    So you are introducing it for its truth.

9:57:49   6              MR. SCHWARTZ:     Well, Your Honor, every article is going

9:57:55   7    to be talking about the issues and why things happened, but

9:57:59   8    we're not putting it in for the truth, we're just putting it in

9:57:59   9    --

9:58:01 10               THE COURT:    You just said it's to show that they lost

9:58:05 11     money.   It's one of the things that -- all of this stuff is bad

9:58:08 12     for them that they lost money.       You're going to have to prove

9:58:11 13     that some other way.      Not this way.     I'll sustain the objection

9:58:15 14     as to newspaper articles, at least this one.         I don't know what

9:58:19 15     the other ones are, but it is coming in for its truth.          You are

9:58:22 16     trying to prove that they were losing money.         You're going to

9:58:26 17     have to prove that some other way with a real witness.

9:58:27 18               MR. RIOPELLE:     A whole series of these are articles,

9:58:36 19     but you can see them if they want to try to -- 5003.

9:58:38 20               MR. SCHWARTZ:     Before we switch to an exhibit, inside

9:58:41 21     this exhibit --

9:58:48 22               MR. RIOPELLE:     Do you want us to page to the exhibit?

9:58:52 23     He can take off the blow-up if you want.

9:58:58 24               MR. SCHWARTZ:     Go to Page 4.     This is from the Los

9:59:03 25     Angeles Times , Your Honor.     Again, this is --


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                                TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 5 of 127   5




9:59:05   1                 THE COURT:    The west coast?   That's going to make it

9:59:09   2     more credible?     What's the point?

9:59:12   3                 MR. SCHWARTZ:    Well, I didn't want to be accused that

9:59:14   4     behind that exhibit is others because the Court just mentioned

9:59:18   5     about other articles.       Mr. Kaplan did a host of searching to

9:59:22   6     find out what the status of this --

9:59:23   7                 THE COURT:    He's testified about that.     I don't have a

9:59:27   8     problem with him testifying that he's read articles and that as

9:59:32   9     a result of his investigation whatever he determined.          I don't

9:59:35 10      know that he can quote a newspaper article because I think it is

9:59:37 11      hearsay.

9:59:42 12                  MR. SCHWARTZ:    Again, we're not offering it for the

9:59:43 13      truth of the matter.

9:59:44 14                  THE COURT:    But you are offering it for the truth of

9:59:47 15      the matter.     You're offering it for the fact that they lost

9:59:51 16      money.     You're offering it for the fact that this showed that

9:59:57 17      they lost money.     I don't think -- I think that that's the

10:00:00 18     definition of offering it for the truth.

10:00:02 19                 MR. SCHWARTZ:    I think there's always the exception, no

10:00:06 20     matter what the document looks like, so that's the exception.

10:00:07 21                 THE COURT:    Exception of what?

10:00:08 22                 MR. SCHWARTZ:    The hearsay rule.

10:00:10 23                 THE COURT:    The exceptions to the hearsay rule:

10:00:14 24     Testimony at a former trial.       Admission of a party opponent.

10:00:17 25     Dying declaration.       Declaration against interest.    Spontaneous


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                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 6 of 127   6




10:00:21   1    statement.    Excited utterance.      Record of past recollection.

10:00:24   2    Business record.     Which one of those is it?

10:00:31   3              MR. RIOPELLE:    That was impressive

10:00:35   4              THE COURT:    Naval Justice School drummed hearsay

10:00:38   5    exceptions into my brain.

10:00:40   6              MR. SCHWARTZ:    It's the exception for periodicals,

10:00:41   7    newspapers.

10:00:43   8              THE COURT:    No, that makes it authenticating.       It does

10:00:49   9    not make it nonhearsay.        I believe it's hearsay.   I will sustain

10:00:57 10     it as to the newspaper articles.        I mean, there are, I think, 14

10:01:04 11     exceptions in the rules of evidence and if you can show me one

10:01:11 12     that it fits, I don't believe 80 something --

10:01:13 13               MR. SCHWARTZ:    I'll take a look at that, Your Honor,

10:01:16 14     when I have -- you know, this morning we're going to be reading

10:01:21 15     a couple of transcripts, so I'll revisit that if necessary.           Mr.

10:01:24 16     Kaplan is not going until late morning.

10:01:28 17               THE COURT:    803.     Tell me which one of 803 it fits and

10:01:31 18     I'll look at it and I'll consider it, but so far you have not

10:01:33 19     given me any reason.

10:01:34 20               MR. SCHWARTZ:    Understood, Your Honor.

10:01:35 21               THE COURT:    All right?

10:01:37 22               MR. RIOPELLE:    Exhibit 5003.

10:01:38 23               THE COURT:    What is that?

10:01:48 24               MR. RIOPELLE:    It's another article.

10:01:49 25               THE COURT:    All right.     What's the objection?


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 7 of 127     7




10:01:51   1              MR. RIOPELLE:     So sorry.     The objection is hearsay as

10:01:57   2    well as relevance.     And in addition, I mean, the fact that the

10:02:04   3    iDEN network was shut down on June 30th is already in evidence.

10:02:19   4              THE COURT:    What is the relevance of this?

10:02:22   5              MR. SCHWARTZ:     Again, it's the same argument as

10:02:25   6    earlier, Your Honor.      We don't need to belabor the issue.

10:02:27   7              THE COURT:    Same ruling.      Next?

10:02:31   8              MR. RIOPELLE:     Exhibit 5006.

10:02:33   9              THE COURT:    Show me.

10:02:36 10               MR. RIOPELLE:     More articles.        Objections, hearsay and

10:02:40 11     relevance.

10:02:47 12               THE COURT:    What paper is this?

10:02:56 13               MR. SCHWARTZ:     It's an online financial called

10:03:00 14     InvestorPlace Market Insight.      We can skip this, Your Honor.

10:03:00 15               THE COURT:    Yeah, please.

10:03:03 16               MR. SCHWARTZ:     We can get to the one that came from

10:03:07 17     Sprint's own press release on their website, their press one.

10:03:08 18               THE COURT:    All right.      Is that one you're objecting

10:03:10 19     to, the press release?

10:03:12 20               MR. RIOPELLE:     I don't know which one.        I got these at

10:03:18 21     1:15 in the morning, so I can -- 5008.

10:03:21 22               THE COURT:    That's when I do some of my best thinking.

10:03:23 23               MR. SCHWARTZ:     I don't have a team of ten, Your Honor.

10:03:25 24               MR. RIOPELLE:     Neither do we, Your Honor.

10:03:27 25               MR. SCHWARTZ:     I meant 11.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 8 of 127   8




10:03:29   1              MR. RIOPELLE:     This is another article.     This is from

10:03:35   2    some publication or online publication called Fierce Wireless .

10:03:36   3              THE COURT:    Sustained.

10:03:42   4              MR. RIOPELLE:     5011 is a little different.      This is

10:03:47   5    excerpts from 10-Ks.      I have no issue with this being a

10:03:51   6    demonstrative, Your Honor, but the 10-Ks are in and if they're

10:03:54   7    going to submit this as to be a summary, it's not a summary

10:03:57   8    because it's not a complete summary of the 10-Ks.

10:04:00   9              THE COURT:    I'll sustain the objection, you may use it

10:04:01 10     as a demonstrative.

10:04:11 11               MR. SCHWARTZ:     The Sprint website is exhibit 5019.

10:04:12 12               THE COURT:    The whole website?

10:04:13 13               MR. SCHWARTZ:     The Sprint's website.

10:04:16 14               THE COURT:    I'm sorry.     You said the Sprint website.       I

10:04:19 15     wanted to know if you were introducing the entire website.

10:04:21 16               MR. SCHWARTZ:     No, Your Honor.

10:04:24 17               MR. RIOPELLE:     5019 was not disclosed to us last night

10:04:28 18     Your Honor.    I'll have to look real quick.      We do have an

10:04:33 19     objection to it, I'll have to look at it.        Oh, it's in evidence?

10:04:37 20     My understanding is it's in evidence so I withdraw my objection.

10:04:40 21               THE COURT:    Yeah, I think you offered it.

10:04:44 22               MR. RIOPELLE:     The next one, Your Honor --

10:04:47 23               THE COURT:    Hold on.     I got to make sure that 5019 is

10:04:49 24     in evidence.

10:04:51 25               MR. RIOPELLE:     Okay.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 9 of 127       9




10:04:53   1               THE COURT:   Yep, it's in evidence, it came in

10:04:54   2    yesterday.

10:04:56   3               Next?

10:05:08   4               MR. RIOPELLE:   5012.   This is a search done on the

10:05:14   5    Trademark Electronic Search System.       It is -- the objection is

10:05:18   6    it's irrelevant and it's misleading.       I don't know what the

10:05:22   7    authentication is going to be, but it is irrelevant because it's

10:05:25   8    talking -- they're going to put it in for the purpose of talking

10:05:32   9    about the cancellation and abandonment of marks that are not at

10:05:34 10     issue in this case.

10:05:39 11                THE COURT:   What is the purpose of this and where is it

10:05:40 12     coming from?

10:05:44 13                MR. SCHWARTZ:   This is a search done by Mr. Kaplan.

10:05:48 14     He's familiar with the trademark office, and went to that

10:05:55 15     particular site to search Nextel, and this is a list of all of

10:05:59 16     the trademarks, live or dead.      Supports his investigation.      And

10:06:07 17     the three trademarks at issue are listed, of course, on this

10:06:08 18     exhibit.

10:06:10 19                THE COURT:   You can talk about those three trademarks

10:06:13 20     but you can't put all of this in.       I'll sustain the objection as

10:06:17 21     to the rest of them.

10:06:22 22                MR. RIOPELLE:   5014 Your Honor, is another article.           I

10:06:25 23     believe it's a Bloomberg article.

10:06:26 24                MR. SCHWARTZ:   We can skip.

10:06:28 25                THE COURT:   Skipping that one?


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 10 of 127 10




10:06:30   1               MR. SCHWARTZ:    Yeah.     It's the same arguments from

10:06:31   2     before.

10:06:33   3               THE COURT:    Okay, same argument, same ruling.

10:06:38   4               MR. RIOPELLE:    5037.

10:06:40   5               THE COURT:    5037.

10:06:44   6               MR. RIOPELLE:    Another article, hearsay, relevance.

10:06:47   7               THE COURT:    Sustained.     Unless you come up with a

10:06:48   8     different argument.

10:06:57   9               MR. RIOPELLE:    5047.     Another article, another hearsay,

10:06:58 10      relevance.

10:06:59 11                THE COURT:    Sustained.

10:07:10 12                MR. RIOPELLE:    5053.     This is a search on the database,

10:07:17 13      the trademark database.     It's not for any of the marks that are

10:07:18 14      at issue in this case.

10:07:19 15                THE COURT:    If it's not the marks that we're talking

10:07:21 16      about, I'll sustain the objection.

10:07:22 17                MR. SCHWARTZ:    Can I just be heard on this one

10:07:24 18      particular one?

10:07:24 19                THE COURT:    Sure.

10:07:26 20                MR. SCHWARTZ:    It's simply the issue of the iconic

10:07:29 21      yellow and black that people have talked about throughout this

10:07:36 22      trial, and it's part of Mr. Kaplan's investigation.

10:07:41 23                THE COURT:    I don't understand.     Explain to me how does

10:07:44 24      this move the ball in our case?

10:07:46 25                MR. SCHWARTZ:    Well, it's simple, Your Honor.       This is


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 11 of 127 11




10:07:51   1     the one that stands for Nextel, the most iconic of their design

10:07:56   2     logos.   The black and yellow rectangle, people have talked about

10:08:01   3     it.   The gold standard.    And it turns out that this one went

10:08:05   4     dead October 3, 2014.

10:08:07   5               THE COURT:    Is this one of the ones that's being sued

10:08:08   6     on?

10:08:08   7               MR. SCHWARTZ:    No, it's not.

10:08:12   8               THE COURT:    Then it's out.

10:08:21   9               MR. SCHWARTZ:    Well, let me step back.      The name Nextel

10:08:27 10      is the trademark at issue here for equipment.        The word Nextel

10:08:32 11      all caps in black.     So I guess one could argue --

10:08:34 12                THE COURT:    Do you think that because they gave up this

10:08:38 13      one, somebody could make it a little bit different, make it --

10:08:40 14                MR. SCHWARTZ:    No, that's not what I'm saying, Your

10:08:42 15      Honor.   Just people, like their witnesses, have testified that

10:08:48 16      -- and by the way, they're still using this, even after the mark

10:08:53 17      went dead on their brochures, on their presentations, it shows

10:08:58 18      up everywhere.    No one has told Sprint that this one went dead

10:09:01 19      and they're just still using it.

10:09:03 20                THE COURT:    I don't understand that comment.      What does

10:09:04 21      that mean?

10:09:07 22                MR. SCHWARTZ:    What I'm saying to you is even their own

10:09:14 23      employees think that this particular iconic Nextel design logo

10:09:19 24      still belongs to Sprint and is alive and well and it's not.          I'm

10:09:23 25      just pointing that out.     And it was part of Mr. Kaplan's


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 12 of 127 12




10:09:23   1     investigation.

10:09:27   2                 THE COURT:   I'll sustain the objection.

10:09:29   3                 MR. RIOPELLE:   I'm going to skip one, Your Honor,

10:09:30   4     because I have two left.

10:09:43   5                 Let me go to 5170.   Another article, hearsay.

10:09:46   6                 MR. SCHWARTZ:   No issue here on this one, we'll address

10:09:48   7     it later if necessary.

10:09:49   8                 THE COURT:   All right.

10:09:53   9                 MR. RIOPELLE:   Then the last one is 5063.

10:10:02 10                  THE COURT:   Calendar.

10:10:04 11                  MR. RIOPELLE:   I'm not sure what the relevance is, but

10:10:05 12      it's also not authenticated.

10:10:08 13                  MR. SCHWARTZ:   This is a Wayback Machine printout, Your

10:10:12 14      Honor.     Same Wayback, if you've heard that term, the Wayback

10:10:12 15      Machine.

10:10:15 16                  THE COURT:   What is the content?

10:10:19 17                  MR. SCHWARTZ:   This is the search is nextel.com, their

10:10:22 18      website, the one that they had prior to, I guess, shutting down

10:10:28 19      the network, and this indicates that in the first quarter of

10:10:33 20      2014, the website went dark.

10:10:37 21                  THE COURT:   What's the relevance of that?

10:10:39 22                  MR. SCHWARTZ:   It's nonuse, Your Honor.

10:10:41 23                  THE COURT:   Well, are you being sued for using the

10:10:43 24      website?

10:10:44 25                  MR. SCHWARTZ:   Cybersquatting.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 13 of 127 13




10:10:48   1                MR. RIOPELLE:   They are being sued, Your Honor, for

10:10:52   2     using Nextel in the domain names of their websites, that is

10:10:53   3     cybersquatting.

10:10:56   4                THE COURT:   Yeah, I don't think the fact that they let

10:11:00   5     this website go dead lets you make another one up with it.

10:11:04   6     Although I think it's probably fairly common in the cyberworld,

10:11:09   7     does not seem to me to be -- okay.        So this is to show -- what

10:11:13   8     difference does it make if they let it go dead?         Tell me?

10:11:15   9                MR. SCHWARTZ:   Again, it goes to their state of mind,

10:11:20 10      their intent that they were basically letting go of everything

10:11:23 11      Nextel.    That's the heart of this whole case.      The abandonment

10:11:31 12      of Nextel, the shuttering, closing it down, finito.

10:11:34 13                 THE COURT:   I'll sustain the objection.

10:11:35 14                 MR. RIOPELLE:   Thank you, Your Honor.     That's all we

10:11:35 15      have.

10:11:40 16                 THE COURT:   Okay.     Can we bring the jury in?   Do we

10:11:43 17      have a witness ready to go on?        Are we going to do a deposition?

10:11:44 18                 MR. SCHWARTZ:   One more, Brian.

10:11:49 19                 Your Honor, I'm sorry Your Honor.      There was one more.

10:11:51 20                 MR. SCHWARTZ:   It's 5046.

10:11:54 21                 MR. RIOPELLE:   5046.

10:11:55 22                 MR. SCHWARTZ:   May not have been on the original list

10:12:00 23      but just address it now.        This is from Sprint's website, Your

10:12:06 24      Honor.    Indicates their brands.

10:12:08 25                 THE COURT:   And the relevance is?


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 14 of 127 14




10:12:10   1               MR. SCHWARTZ:     That they don't consider Nextel one of

10:12:16   2     their brands based upon what they're expressing to the public,

10:12:20   3     and the same public that had to search to see, like Mr. Kaplan,

10:12:25   4     what's going on with the brand Nextel.       It's all part of his

10:12:31   5     investigation, support, what he's being accused of.

10:12:33   6               MR. RIOPELLE:     It's fine.

10:12:35   7               THE COURT:     I don't see any problem.

10:12:37   8               Okay.   What else?

10:12:40   9               MR. SCHWARTZ:     I believe that's it, Your Honor.

10:12:43 10                THE COURT:     Okay.   When you read a deposition, please

10:12:47 11      make sure that tell us where you start, and then when you skip,

10:12:50 12      tell us where you go to because it just makes it a lot easier to

10:12:52 13      follow.

10:12:55 14                MR. KERNELL:     Yes, I apologize for that yesterday, Your

10:12:55 15      Honor.

10:12:59 16                And if I could address the comments of the Court at the

10:13:03 17      end of the session yesterday when we read in Brian Mancuso.

10:13:09 18      Plaintiff and Defendants both worked together to create or to

10:13:14 19      designate that transcript, and I apologize if we missed some of

10:13:19 20      the Court's rulings on that transcript.       We didn't intend to.

10:13:21 21                THE COURT:     There was a lot of stuff that I ruled was

10:13:25 22      inadmissible that got read into the record.         Now, it's very

10:13:28 23      possible that they withdrew their objection, but I'd kind of

10:13:31 24      like to know about that so that I could have a clue.

10:13:34 25                MR. KERNELL:     We worked jointly together.


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                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 15 of 127 15




10:13:36   1               MS. DeFORD:    Your Honor, if I may address that.       I do

10:13:41   2     not work best at 1 a.m., but I think I follow the Court's chart

10:13:44   3     very clearly when I was going through it.        I'm a little

10:13:46   4     concerned that perhaps some of the Court's objections that might

10:13:50   5     have been handwritten on the transcripts may have not made it on

10:13:52   6     the chart that was filed.

10:13:54   7               THE COURT:    It's very possible.     All I know is what I

10:13:59   8     wrote on my note, then somebody else sent it to you.         I presume

10:14:04   9     that it got through.     If it didn't get through, I'll see to it

10:14:06 10      that that employee is beaten.

10:14:09 11                MS. DeFORD:    We don't ask that, but I would raise, Your

10:14:12 12      Honor, because there is one other transcript that they plan to

10:14:15 13      read today which is Ms. Jobe, and if there are additional

10:14:18 14      sustained objections that the Court has made, the parties didn't

10:14:20 15      receive, I'm a little bit concerned about that evidence coming

10:14:24 16      in.   There's nothing we can do about Mr. Mancuso.

10:14:26 17                THE COURT:    No, what's done is done.     If I thought it

10:14:29 18      was real harmful, I would have stopped it.        But, you know, when

10:14:32 19      I saw it -- but I didn't see all of it because I didn't know

10:14:36 20      where we were, and I would have to keep looking.         And when I'd

10:14:41 21      see something that looked familiar, I'd know where that was and

10:14:44 22      I would look for that, and I would follow it for a little while.

10:14:47 23      But it looked like we were going back and forth in some

10:14:51 24      instances, back and forth as far as going back in the testimony,

10:14:54 25      but it doesn't matter.     What's done is done.     Let's deal with it


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 16 of 127 16




10:14:56   1     from this point forward.         And I would presume that you're going

10:14:59   2     to do it right and if you tell me that, I'll stop you if

10:15:04   3     something is -- now, if I know where you are in the depo, I'll

10:15:05   4     do it.

10:15:07   5               MR. KERNELL:     Yes, Your Honor.     I'll point out the

10:15:08   6     pages that we're going to.

10:15:11   7               THE COURT:     And that's fine.     Can we bring the jury in?

10:15:12   8               MS. DeFORD:     I appreciate it.     Thank you.

10:15:15   9               THE COURT:     Okay.     Bring the jury in please.

10:15:18 10                COURT SECURITY OFFICER:        All rise for the jury.

10:15:26 11                (Jury in at 10:15 a.m.)

10:16:18 12                THE COURT:     Please be seated.     I trust all of you had a

10:16:20 13      nice, restful evening.

10:16:25 14                Ready to go.     We're getting close.     You may proceed.

10:16:31 15                MR. KERNELL:     Your Honor, we call Stephen Calabrese by

10:16:32 16      deposition.

10:16:34 17                THE COURT:     Okay.     As I told you before, deposition is

10:16:40 18      proceeding that's held outside of court.         The witness is sworn

10:16:43 19      and the attorneys have opportunities to ask questions.         And it's

10:16:53 20      being reenacted, so don't worry about -- place any significance

10:16:56 21      on the behavior or tone of voice of any person reading the

10:16:58 22      questions or answers.

10:17:00 23                You may proceed, sir.

10:17:06 24                MR. KERNELL:     This is the videotape deposition of

10:17:16 25      Stephen Calabrese taken on December 5, 2018.         We're starting on


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 17 of 127 17




10:17:18   1     Page 9.

10:17:18   2          (Deposition of Stephen Calabrese read into the record by Mr.

10:17:18   3     Kernell (Q) and Ms. Solomon (A))

10:17:25   4     Q.   Good morning, Mr. Calabrese.      First question, how should I

10:17:27   5     pronounce your last name?

10:17:29   6     A.   Calabrese is fine.

10:17:33   7     Q.   Okay.     Do you understand that we've been here -- you're here

10:17:36   8     today to first answer some background questions about you

10:17:40   9     personally, and then to appear as the corporate representative

10:17:41 10      of Nextel, Inc.

10:17:43 11      A.   Yes.

10:17:48 12      Q.   To make things less confusing today, when I am talking about

10:17:51 13      Nextel, Inc., I'm going to refer to it as NW.        Does that make

10:17:51 14      sense?

10:17:52 15      A.   Yes.

10:17:56 16      Q.   And then when I'm talking about Sprint, I'll say Sprint, and

10:18:00 17      Sprint should also encompass Nextel, the company that merged

10:18:02 18      into Sprint.     Does that make sense?

10:18:03 19      A.   Yes.

10:18:07 20      Q.   And then, when I'm talking about RetroBrands, I'll

10:18:13 21      RetroBrands I'll say RetroBrands.        When I'm talking about Nextel

10:18:17 22      Mobile Worldwide, I will say Nextel mobile or Nextel Mobile

10:18:19 23      Worldwide.

10:18:22 24      A.   Yes.

10:18:28 25                   MR. KERNELL:   If we go onto the next Page 10, Line 20.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 18 of 127 18




10:18:31   1     Q.   Are you a resident of Florida, Mr. Calabrese?

10:18:33   2     A.   Yes.

10:18:34   3     Q.   Where specifically?

10:18:37   4     A.   604 Boca Marina Court.

10:18:39   5     Q.   Is that your primary residence?

10:18:40   6     A.   No.

10:18:44   7     Q.   What is the address you just gave me?

10:18:46   8     A.   It's where I keep some things and I stay closer to the

10:18:50   9     office within Fort Lauderdale during the week.

10:18:52 10      Q.   What is your other address?

10:18:57 11      A.   600 South Dixie Highway, Apartment 836, West Palm Beach,

10:18:59 12      Florida, 33401.

10:19:03 13      Q.   Okay.     And is the South Dixie Highway address your primary

10:19:04 14      residence?

10:19:07 15      A.   You could say that, you know, it's where I keep most of my

10:19:08 16      stuff.

10:19:12 17      Q.   Which of those two addresses is your primary residence?

10:19:15 18      A.   Neither.     I don't really have a primary residence.      I work

10:19:18 19      on the road and pretty much, I mean, my family owns a lot of

10:19:21 20      different places, so I'll stay wherever I'm closer to with

10:19:24 21      driving and traffic.        That kind of stuff.

10:19:29 22                   MR. KERNELL:    If we could continue to Page 13, Line 4.

10:19:33 23      Q.   Prior to 2016, were you in the telecommunications business?

10:19:34 24      A.   Yes.

10:19:34 25      Q.   What did you do?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 19 of 127 19




10:19:41   1     A.   Well, I mean, as simple as I can make it I -- I conceived,

10:19:46   2     built, designed wireless switching company for what they call

10:19:50   3     mobile backhaul and interoperability.

10:19:52   4     Q.   Can you explain to me what -- in layman's terms, what mobile

10:19:53   5     backhaul is?

10:19:58   6     A.   Yeah, it's pretty simple.      Towers are circles, and backhaul

10:20:01   7     is the sticks in between the circles.       So if you were Sprint,

10:20:05   8     you would understand that, you know, you have your towers

10:20:07   9     connected to the switching center and in between each other so

10:20:11 10      that the phones can -- what radios, phones are just radios and

10:20:13 11      can hand off between each other.

10:20:17 12      Q.   Okay.     And did you work for a company when you did this?

10:20:20 13      A.   Well, I founded the company and I worked for it as an

10:20:21 14      employee.

10:20:24 15      Q.   Okay.     What company was that?

10:20:29 16      A.   It's called Critical RF, Incorporated and Critical RF

10:20:35 17      Direct.     One, one is engineering one is the sales and service.

10:20:48 18                   MR. KERNELL:   Then we're going to forward onto Page 32,

10:20:51 19      Line 10.

10:20:51 20      BY DEFENSE 2:

10:20:56 21      Q.   Who owns NW, Mr. Calabrese?

10:21:02 22      A.   It's me, myself, a 50/50 partnership.       Myself and another

10:21:07 23      gentleman.     So myself and another gentleman 50/50, it's pretty

10:21:11 24      much a public record, you know, the corporate secretary, you can

10:21:12 25      look it up.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 20 of 127 20




10:21:15   1     Q.   Who is your co-owner of NW?

10:21:16   2     A.   Mr. Rivera.

10:21:18   3     Q.   And how did you meet Mr. Rivera?

10:21:21   4     A.   I don't really recall.     I met him.   I mean, I just know him

10:21:23   5     through the telecommunications business.

10:21:28   6     Q.   And I should back up.    Is his name Jose Rivera?

10:21:28   7     A.   Yes.

10:21:31   8     Q.   And can you explain to me how did you become co-owners of NW

10:21:33   9     with Mr. Rivera?

10:21:38 10      A.   I just asked him if he wanted -- if he liked Nextel and

10:21:41 11      wanted to work with me on bringing the brand back that was

10:21:41 12      abandoned.

10:21:44 13      Q.   And when did you ask him that?

10:21:48 14      A.   I don't, like, I don't recall the exact date, but it was

10:21:50 15      probably like November of 2016.

10:21:53 16      Q.   And what is Mr. Rivera's role at NW?

10:21:57 17      A.   We don't really have roles.     I mean, he just -- he helps me

10:22:00 18      with, you know, taking care of business.

10:22:02 19      Q.   Are you -- do you have equal say in all business decisions?

10:22:06 20      A.   As far as yes, we do it, have an equal amount of the

10:22:09 21      company, equal voting I believe, yes.

10:22:12 22      Q.   Well, are you the president or is Mr. Rivera the president?

10:22:15 23      A.   I think I'm the president.     Yeah, I haven't reviewed, I

10:22:19 24      don't know.    I'm not really a businessman.      I know that most --

10:22:22 25      you know, I just know that we are partners and we're 50/50.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 21 of 127 21




10:22:26   1     Q.   But it was your idea to use Nextel, correct?

10:22:30   2     A.   Yes.    I mean, I -- I -- yes.

10:22:33   3     Q.   And you said you knew Mr. Rivera from the telecommunications

10:22:35   4     industry; is that correct?

10:22:37   5     A.   Yes.

10:22:46   6     Q.   How did you meet Mr. Rivera through the telecommunications

10:22:48   7     industry?

10:22:52   8     A.   I don't really recall exactly how I met him, you know.         He

10:22:56   9     bought, he had bought products from my Critical RF company

10:22:56 10      before.

10:23:01 11      Q.   And had he bought, bought products from Critical RF as a

10:23:05 12      consumer, or did he have his own company or how did that --

10:23:07 13      A.   He had his own company.

10:23:09 14      Q.   Is -- what was his company?

10:23:13 15      A.   I think it's Reliable something.      Reliable Communications.

10:23:14 16      Q.   And does he still have that company?

10:23:15 17      A.   Yes.

10:23:18 18      Q.   And did you ask Mr. Rivera to invest in NW?

10:23:20 19      A.   No.

10:23:22 20      Q.   Has he invested any money in NW?

10:23:23 21      A.   No.

10:23:30 22      Q.   And does Mr. Rivera work for NW?      Well first, is Mr. Rivera

10:23:31 23      an employee of NW?

10:23:34 24      A.   I'm not sure what you mean by employee.

10:23:37 25      Q.   Does he receive a salary from NW?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 22 of 127 22




10:23:38   1     A.   No.

10:23:41   2     Q.   So you did not consider him an employee of NW?

10:23:45   3     A.   No, I consider him a 50/50 owner with me.

10:23:47   4     Q.   Does he do any work for NW?

10:23:51   5     A.   Yeah, I mean he -- he helps me.        So, I mean, it's maybe

10:23:55   6     work, if you define it like that.       I mean, he just does what

10:23:58   7     needs to be done so it could be work, you know.

10:24:02   8     Q.   I'm trying to understand.     Is Mr. Rivera compensated for any

10:24:04   9     work he does for NW?

10:24:07 10      A.   No.   No.   Neither of us are.   No.

10:24:12 11      Q.   So neither you nor Mr. Rivera receive any sort of salary?

10:24:13 12      A.   No.

10:24:18 13      Q.   But you split profits from NW 50/50?

10:24:22 14      A.   When we have a profit, we will.        Not at this time.

10:24:29 15                 MR. KERNELL:   If we can skip to Page 38, Line 19.

10:24:34 16      Q.   Well, I'm trying to understand, do you have your own

10:24:37 17      wireless network, Mr. Calabrese?

10:24:38 18      A.   No.

10:24:41 19      Q.   Does NW have its own wireless network?

10:24:41 20      A.   No.

10:24:44 21      Q.   So where do you get the service for the devices on the

10:24:44 22      table?

10:24:46 23      A.   I buy the SIM cards at Walmart.

10:24:49 24      Q.   So the services you sell in connection with these devices,

10:24:51 25      those devices are SIM cards from Walmart?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 23 of 127 23




10:24:55   1     A.     Not necessarily, but that's, you know, that's an example of

10:24:58   2     where you can get service for these.

10:24:59   3     Q.     Well, where do you get service for those?

10:25:03   4     A.     It just depends on where the customer is.     I mean, different

10:25:06   5     geographical areas.     There's different service providers.

10:25:14   6     Q.     Do you -- does NW procure it for a consumer or does the

10:25:15   7     consumer procure it themselves?

10:25:19   8     A.     Both.   Some customers prefer to procure it themselves and

10:25:22   9     sometimes they ask us to procure it.

10:25:26 10      Q.     Okay.   So can you list for me the services NW has procured

10:25:27 11      for customers?

10:25:28 12      A.     Data plan.

10:25:31 13      Q.     Where do they get those data plans?

10:25:34 14      A.     Sometimes we get them at off the shelf.     Sometimes we order

10:25:40 15      them from what they call an IOT provider which is they sell SIM

10:25:44 16      cards for like, you know, for devices.       You can buy SIM cards on

10:25:47 17      line for two or three dollars, and they'll go up and you can put

10:25:48 18      them in devices.

10:25:52 19      Q.     Okay.   Do you know what network these devices use?

10:25:56 20      A.     They can use any GSM network.

10:26:00 21      Q.     So for instance they might use AT&T's network?

10:26:03 22      A.     If the customer wants that, we'll give them that network,

10:26:04 23      yes.

10:26:06 24      Q.     So you can purchase the service from AT&T and resell it to a

10:26:07 25      consumer; is that accurate?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 24 of 127 24




10:26:11   1     A.   No.    We don't purchase it from AT&T.     We have no

10:26:15   2     relationship with AT&T.     We buy it from an IOT provider who has

10:26:20   3     a relationship with AT&T.     Like everybody else does that.       Does

10:26:25   4     like ATM machines, vending machines, traffic lights, Onstar,

10:26:27   5     that kind of stuff.

10:26:31   6     Q.   So NW does not, in fact, have its own wireless network or --

10:26:32   7     A.   No.

10:26:34   8     Q.   Create any sort of wireless services?

10:26:35   9     A.   No.

10:26:39 10      Q.   It resells wireless services is that accurate?

10:26:47 11      A.   Yes.    It's more, more or less.    Again, only when the

10:26:51 12      customer asks us to provide that, but not in an absolute

10:26:53 13      statement that we do, you know, always.       You know, when you work

10:26:59 14      with us, you have the option to do that.        The device is an

10:27:02 15      off-the-shelf device, takes a SIM card.       You can procure the

10:27:05 16      service from anywhere.     We just bundle it if you ask us to.

10:27:09 17      Q.   And how would you go about -- can you give me an example of

10:27:13 18      the time you have bundled the service and the device for a

10:27:13 19      customer?

10:27:16 20      A.   I mean, I can give you an example of a customer that

10:27:19 21      provides their own cards, yes.      In fact, they're in your

10:27:21 22      documents that you talk about.

10:27:24 23      Q.   Well, I think I'm asking a different question than you're

10:27:30 24      answering.    I'm asking for an example of when you have sold the

10:27:31 25      service to the customer?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 25 of 127 25




10:27:35   1     A.   I mean, I'm just thinking of a -- we don't have that many

10:27:38   2     customers.    We're pretty small, but like a security company that

10:27:42   3     down here local.

10:27:50   4                 MR. KERNELL:   I'm skipping to Line 7 of Page 42.

10:27:52   5     Q.   But where did you get the service bundled with the device?

10:27:55   6     A.   Oh, at a store called Mobile Source.

10:27:57   7     Q.   And what did you purchase there?

10:27:58   8     A.   SIM cards.

10:28:04   9     Q.   You just bought SIM cards, you just bought SIM cards to the

10:28:04 10      customer?

10:28:08 11      A.   Well, we put it into the device and we give it to them and

10:28:10 12      that, and they use it.

10:28:15 13                  MR. KERNELL:   Now if we could skip to Page 45, Line 5.

10:28:17 14      Q.   Those devices say Nextel on them, correct?

10:28:19 15      A.   They say it, yes.

10:28:22 16      Q.   How did Nextel get on those devices?

10:28:25 17      A.   Well we -- they put -- the people who make the devices put a

10:28:27 18      sticker on it that says Nextel.

10:28:29 19      Q.   And who made these devices?

10:28:33 20      A.   I mean, I'm not -- they have really long Chinese names but

10:28:37 21      we submitted a list of our -- of our vendors.        I don't know

10:28:41 22      their exact names.     They, you know, so everybody buys these from

10:28:45 23      different places just like anybody could buy an iPhone from

10:28:49 24      different places, you know.      It just -- one says a different

10:28:51 25      carrier name on the back than the other.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 26 of 127 26




10:28:55   1     Q.   So do you order these devices from a specific manufacturer?

10:28:58   2     A.   No.   There's lots of manufacturers.

10:29:02   3     Q.   How do you get these devices, Mr. Calabrese?        How does NW

10:29:04   4     get these devices that are branded Nextel?

10:29:08   5     A.   We order them from the different vendors that we submitted.

10:29:10   6     Q.   And how did you find those vendors?

10:29:14   7     A.   Well, at the trade show.

10:29:15   8     Q.   What trade show?

10:29:18   9     A.   The one you reference in your documents.

10:29:20 10      Q.   Are you referring to IWCE?

10:29:21 11      A.   Correct.

10:29:22 12      Q.   Didn't you --

10:29:25 13      A.   The manufacturers have booths there so that people can do

10:29:27 14      business with them.

10:29:30 15      Q.   So tell me how you got in touch with the manufacturers at

10:29:35 16      the trade show and what year trade show you're referring to.

10:29:40 17      A.   Well in 2015, 2016, I saw the booth for different vendors

10:29:44 18      with this technology, and I said that that's a real cool

10:29:48 19      technology.     So I, I just, you know, I met them.      That's how I

10:29:52 20      got in touch with them.     I visited their booth at the trade

10:29:52 21      show.

10:29:56 22      Q.   What vendor's booth did you visit at the trade show?

10:29:58 23      A.   Maybe there's eight or nine of them.       I mean, they have --

10:30:01 24      like I said they have strange names that aren't, you know,

10:30:06 25      rememberable, they're just, you know, Quan Doan Technology Go.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 27 of 127 27




10:30:11   1     You know, it's nothing that us Westerners would ever remember.

10:30:14   2                  MR. KERNELL:   If I could skip to Page 48, Line 4.

10:30:17   3     Q.   Is it correct that you get Nextel-branded devices from

10:30:17   4     vendors?

10:30:18   5     A.   Yes.

10:30:21   6     Q.   Do those vendors manufacture those devices specifically for

10:30:22   7     your company?

10:30:23   8     A.   No.

10:30:27   9     Q.   How did the vendors get the Nextel-branded devices?

10:30:30 10      A.   The vendors make them.      They don't get them.

10:30:34 11      Q.   So did the vendors manufacture Nextel-branded devices and

10:30:37 12      sell them to companies other than NW?

10:30:40 13      A.   No, they would sell them to other companies with their brand

10:30:41 14      on them.

10:30:45 15      Q.   Okay.     So you instruct -- is this accurate as to how NW gets

10:30:49 16      the Nextel-branded devices?      You instruct the vendors what

10:30:54 17      devices you want manufactured and ask them to brand the devices

10:30:56 18      Nextel; is that correct?

10:30:59 19      A.   No, we don't instruct them on which ones to manufacture.

10:31:02 20      They already manufacture them.      We just instruct them on which

10:31:07 21      ones we like to put the Nextel brand on that was abandoned.

10:31:12 22                   MR. KERNELL:   If we could skip to Page 49, Line 6.

10:31:15 23      Q.   All right.     So NW instructs the vendor to affix the Nextel

10:31:19 24      brand to certain devices, and they send you the devices with the

10:31:20 25      brand affixed; is that correct?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 28 of 127 28




10:31:22   1     A.   Yes.

10:31:28   2                  MR. KERNELL:   Skip to Page 50, Line 15.

10:31:33   3     Q.   I'll rephrase.     Is Quanzhou Sam (ph) Radios Limited a vendor

10:31:38   4     that manufactures Nextel devices for NW?

10:31:42   5     A.   No.     They affix the Nextel brand on the devices they already

10:31:44   6     manufacture, but yes, they're a vendor.

10:31:48   7     Q.   Can you explain to me the distinction you're making?         Is it

10:31:52   8     that they or you -- what is the distinction between they affix

10:31:55   9     the brand on devices they already manufacture and they

10:31:58 10      manufacture devices for NW?

10:32:01 11      A.   Well, let me put it into your own terms since you're with

10:32:05 12      Sprint or you represent Sprint.      Sprint buys iPhones from Apple.

10:32:08 13      When they buy them from Apple for their own inventory, they have

10:32:12 14      the Sprint logo on the back.      But Apple manufactures the iPhone

10:32:16 15      for sale at their store without any carrier logos, and when we

10:32:20 16      order our inventory, these are items that are in the public

10:32:23 17      domain, anybody can buy them.

10:32:27 18                   MR. KERNELL:   If we can skip to Page 52, Line 9.

10:32:31 19      Q.   Getting back to the Quanzhou Sam Radios Limited, is that one

10:32:32 20      of your vendors?

10:32:34 21      A.   Sounds like it, yeah.

10:32:40 22      Q.   And how about Quanzhou Sin Hazan Electronic Technology Co,

10:32:41 23      Limited?

10:32:43 24      A.   Yes, I believe so.

10:32:48 25      Q.   Okay.     And what about Quanzhou Tiso (ph) Electronics Co,


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 29 of 127 29




10:32:49   1     Limited?

10:32:52   2     A.   Yes.     Those sound like the folks that I met at the trade

10:32:56   3     show, the IWCE trade show that I recall.

10:33:03   4                 MR. KERNELL:   We can skip to Page 54, Line 17.

10:33:06   5     Q.   Can you give me -- about how many Nextel branded devices in

10:33:11   6     terms of numbers, number of units has NW purchased from vendors?

10:33:14   7     A.   I can't recall an exact number.      It would be in the

10:33:15   8     hundreds.

10:33:16   9     Q.   In the hundreds of devices?

10:33:18 10      A.   Right.

10:33:18 11      Q.   Total?

10:33:22 12      A.   Total, yeah.     We sold probably a few hundred.

10:33:28 13                  MR. KERNELL:   Skip to Page 56, Line 7.

10:33:30 14      Q.   Who is in charge of working on the taxes?

10:33:34 15      A.   I don't know the name of his company.       His name is Noel.

10:33:37 16      Q.   But who at NW gets him the information he needs?

10:33:42 17      A.   Well we, like he has, he has a things where we through, like

10:33:47 18      he goes on our PayPal account or whatever and he looks at it so

10:33:48 19      he, he has access to it.

10:33:52 20      Q.   Mr. Calabrese, do you keep any sales or other financial

10:33:53 21      records at NW?

10:33:58 22      A.   I, I don't.     I mean, I write my to-do list on a piece of

10:34:01 23      paper and that's pretty much, we have a PayPal which helps us do

10:34:04 24      that invoicing kind of thing.

10:34:05 25      Q.   Do you create balance sheets for NW?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 30 of 127 30




10:34:09   1     A.   I don't.    No.    I mean, that's part of what we -- we asked

10:34:13   2     the guy Noel to do as a service, just tell us how we're doing as

10:34:18   3     a couple guys.     You know, how we're doing with our sales, how

10:34:21   4     we're doing with our expenses and so that's -- we hired, you

10:34:26   5     know, this company to do us a service for us.            I'm sorry.    I

10:34:29   6     don't know his last name.       I had lunch with him once.

10:34:32   7     Q.   Mr. Calabrese, are you the person who communicates with your

10:34:37   8     vendors regarding affixing the Nextel brand to the devices?

10:34:38   9     A.   No.

10:34:40 10      Q.   Who communicates with the vendors on that point?

10:34:42 11      A.   Mostly Mr. Rivera.

10:34:46 12      Q.   And does Mr. Rivera act independently or is he acting on

10:34:48 13      your instructions?

10:34:51 14      A.   He's pretty independent.      I mean, he -- I don't really know

10:34:55 15      all the communication because again, I mostly work with the

10:34:59 16      sales to the dealers.       So that's mostly my role, answer

10:35:02 17      technical questions, that kind of thing.        What I call the front

10:35:05 18      of house.

10:35:13 19                  I don't recall if you made a decision.      I mean, it's

10:35:17 20      pretty much implied like with our order and that's our company

10:35:23 21      name.   So they put it on there.      That's what the offer is OEM.

10:35:27 22      It's called OEM.       You know, like when Sprint orders 100,000 car

10:35:32 23      chargers, maybe the car charger may put a little Sprint logo on

10:35:35 24      it, so I don't think he really made a decision.         It's just that

10:35:38 25      that's kind of what he's there to talk to them about, you know


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 31 of 127 31




10:35:41   1     what I mean?       They understand that, they do it for other people

10:35:42   2     too.

10:35:47   3     Q.     But can you choose to use Nextel; correct, Mr. Calabrese?

10:35:49   4     A.     What do you mean by use Nextel?

10:35:52   5     Q.     You made the decision to apply the Nextel brand to the

10:35:54   6     devices that NW sells, correct?

10:35:56   7     A.     Yes.

10:36:03   8                    MR. KERNELL:   Skip to Page 62, Line 3.

10:36:07   9     Q.     Who created the website nextelworldwide.com?

10:36:08 10      A.     I did.

10:36:10 11      Q.     Okay.     Did anyone else assist with the creation of the

10:36:13 12      website nextelworldwide.com?

10:36:17 13      A.     No.

10:36:26 14                     MR. KERNELL:   Skip to Page 66 Line 24.   Then on to 67.

10:36:31 15      Q.     Mr. Calabrese, is this the corporate -- Florida corporate

10:36:32 16      record for NW?

10:36:35 17      A.     Yes, it looks that way.

10:36:37 18      Q.     And the principle address listed here, it's on the page

10:36:40 19      number SPR 34?

10:36:42 20      A.     Uh-huh.

10:36:46 21      Q.     6191 Orange Drive, Suite 4466; is that correct?

10:36:52 22      A.     That's in Davie, Florida, which is right near the airport.

10:36:56 23      Q.     But is that an office space NW rents?

10:36:57 24      A.     No.

10:36:58 25      Q.     What is that?


                               PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                      TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 32 of 127 32




10:37:01   1     A.   That belongs to Mr. Rivera's company, Reliable Two-way and

10:37:06   2     he lets us, you know, basically use it as an address, a business

10:37:09   3     so that, you know, is a place where we can you know, have a

10:37:13   4     business that is not in a home.

10:37:16   5               MR. KERNELL:    You can move on to Page 68, Line 6.

10:37:19   6     Q.   Do you know who drafted these electronic articles of

10:37:20   7     incorporation?

10:37:23   8     A.   I don't.    I don't know who drafted them.

10:37:25   9     Q.   Did you provide this information?

10:37:30 10      A.   I, I provided like my name when we started the company for

10:37:33 11      like the place you start your company with.        And then

10:37:36 12      Mr. Rivera, I guess, worked on all that.        You know, like I said,

10:37:41 13      he does different things when the time is right to do them.          So

10:37:41 14      --

10:37:46 15      Q.   So do you recall, did you or did Mr. Rivera take care of

10:37:47 16      getting NW incorporated?

10:37:51 17      A.   Mostly Mr. Rivera.    I mean, I was there and I signed the

10:37:55 18      documents.   And I gave you know my information.

10:38:03 19                MR. KERNELL:    We can move to Page 70, Line 25.

10:38:08 20      Q.   What is Mr. Kaplan's current relationship to NW?

10:38:13 21      A.   He's a licensor, I'm a licensee of the Nextel trade brand.

10:38:14 22      Nextel, Inc. is a licensee.

10:38:17 23      Q.   When did RetroBrands gain ownership of the brand Nextel?

10:38:21 24      A.   I'm not certain when.    That's Mr. Kaplan.     I don't really do

10:38:22 25      anything with the brand.


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                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 33 of 127 33




10:38:26   1     Q.   How did you -- how did NW decide to become RetroBrands

10:38:27   2     licensee?

10:38:31   3     A.   Well Mr. Kaplan, I, I guess researched the abandoned, being

10:38:36   4     Nextel and he, he asked us if we would be interested in

10:38:39   5     licensing it from him.

10:38:50   6                 MR. KERNELL:     Skip to Page 79, Line 3.

10:38:53   7     Q.   But Mr. Calabrese, you went from using the Nextel brand and

10:38:57   8     paying no royalties to anyone for that use to paying Mr. Kaplan

10:39:02   9     a royalty to use the Nextel brand, and I'm trying to understand

10:39:04 10      why you made that decision.

10:39:10 11      A.   Because again, to maintain and acquire abandoned marks is a

10:39:12 12      -- is a specialty that I didn't possess and, you know, the

10:39:17 13      expertise and as far as you know, I, I'm more of a

10:39:20 14      telecommunications expert.        Mr. Kaplan is --

10:39:24 15                  MR. RIOPELLE:     Objection, Your Honor, that is.

10:39:25 16                  THE COURT:     Come to the side.

10:39:25 17                  (SIDEBAR CONFERENCE:

10:39:43 18                  THE COURT:     Sidebar.

10:39:53 19                  What's the problem?

10:39:57 20                  MR. SCHWARTZ:     Mr. Riopelle wasn't aware of the

10:40:00 21      stipulation I reached with his other colleague, and it was going

10:40:02 22      to be crossing out the two words that were skipped.

10:40:07 23                  THE COURT:     What are we doing?   Did you get it out now?

10:40:10 24                  MR. RIOPELLE:     I'll withdraw the objection.   It was

10:40:17 25      red'd out on mine, and there was an agreement I wasn't aware of


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 34 of 127 34




10:40:19   1     and I'm willing to live by my side's agreement.

10:40:32   2                 THE COURT:     Okay.     Read what you agreed upon.   If you

10:40:52   3     can remember it.     You may proceed.

10:40:52   4                 (END OF SIDEBAR)

10:40:56   5                 MR. KERNELL:     Do you want to withdraw the objection?

10:40:57   6                 THE COURT:     He did.

10:41:00   7                 MR. KERNELL:     I'm sorry.     Do you want to proceed with

10:41:01   8     the question again?

10:41:02   9                 THE COURT:     Yes.

10:41:03 10                  MR. KERNELL:     Okay.

10:41:06 11      Q.   But Mr. Calabrese, you went from using the Nextel brand and

10:41:12 12      paying no royalty to someone for that use to paying Mr. Kaplan a

10:41:16 13      royalty to use the Nextel brand, and I'm trying to understand

10:41:19 14      why you made that decision?

10:41:24 15      A.   Because again, to maintain and acquire abandoned marks is a

10:41:27 16      -- is a specialty that I didn't possess and, you know, the

10:41:30 17      expertise and as far as, you know, I'm more of a

10:41:35 18      telecommunications expert and Mr. Kaplan is, is more of a brands

10:41:38 19      expert like this brand.           And essentially I felt it was in my

10:41:42 20      interest of time and expense, beneficial to let him do, you

10:41:46 21      know, play to that strength and I can continue my role with the

10:41:49 22      telecommunications side.

10:41:52 23                  MR. KERNELL:     If we move on to Page 80, Line 2.

10:41:56 24      Q.   Is RetroBrands paying NW's legal fees in this action?

10:41:56 25      A.   Yes.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 35 of 127 35




10:42:00   1     Q.   Is RetroBrands paying, to the extent they are separate, is

10:42:04   2     RetroBrands paying you Stephen Calabrese's legal fees in this

10:42:05   3     action?

10:42:06   4     A.   Yes.

10:42:21   5                 MR. KERNELL:   If we could move on to Page 94, Line 22.

10:42:23   6     Q.   Would you consider Nextel a famous brand?

10:42:25   7     A.   What do you mean by famous?

10:42:26   8     Q.   Well-known?

10:42:27   9     A.   Yes.

10:42:32 10      Q.   What was your impression of the Nextel brand prior to 2016?

10:42:37 11      A.   It differs.    I mean, in the early days, you know, when the

10:42:40 12      network, you know, before it had been abandoned, the network was

10:42:45 13      up to the times as far as its ability to handle data and

10:42:50 14      multiple functions, calling and low rate data.        But as you know,

10:42:54 15      as smartphones became in around 2007 with the, I guess you call

10:42:58 16      it the crystallization of smartphones be an every day thing.          My

10:43:01 17      impression wasn't so favorable because the network that they

10:43:04 18      abandoned and took down was not able to handle the functions of

10:43:09 19      a modern wireless customer.      So in the beginning it was very

10:43:12 20      favorable and, and before, right before, the brand was

10:43:17 21      abandoned.    Starting around 2008, so it was abandoned in 2013.

10:43:22 22      It was not so favorable because it couldn't keep up with the

10:43:27 23      demands of subscribers that, you know, as a person gets in the

10:43:29 24      wireless business, you know, looking at it from a capability

10:43:32 25      standpoint, it wasn't that -- seemed that capable anymore.          Just


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 36 of 127 36




10:43:37   1     like if I was in the aircraft business, you know, a propeller

10:43:41   2     aircraft wouldn't have seemed as great in 1956 as it would in

10:43:44   3     1906.

10:43:48   4                  MR. KERNELL:     If we could move on to Page 98, Line 3.

10:43:51   5     Q.   When do you believe the iDEN network shut down?

10:43:54   6     A.   On June, June 30, 2013.

10:43:57   7     Q.   And after that, did Sprint sell any devices that were

10:43:59   8     branded Nextel?

10:44:02   9     A.   I mean, you'd have to ask Sprint that.           I don't know if -- I

10:44:05 10      mean, they could have sold something.         I don't know.    I mean,

10:44:08 11      they could have sold some leftovers.         I mean, it's not my

10:44:11 12      business, you know.         I know that they publicly took down the

10:44:15 13      network and stopped providing services on that date.           The

10:44:18 14      network was shut off.         I mean, did they --

10:44:23 15      Q.   Okay.     But you do not know whether Sprint continued to sell

10:44:27 16      devices that were branded Nextel that were not connected to the

10:44:28 17      iDEN network?

10:44:33 18      A.   I, I, I do not know.        It's possible.     It's probable really,

10:44:36 19      because you couldn't have a Nextel device with iDEN operating if

10:44:39 20      it didn't have a network to go on.

10:44:43 21                   MR. KERNELL:     You can move to Page 100, Line 15.

10:44:45 22      Q.   Were you aware that Sprint purchased Nextel?

10:44:46 23      A.   Yes.

10:44:50 24      Q.   And were you aware that Sprint was called Sprint Nextel?

10:44:56 25      A.   Up until 2013, yes.        When they abandoned it.     Yeah.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 37 of 127 37




10:44:59   1                 MR. KERNELL:   We could move to Page 104.     I'm sorry.

10:45:02   2     103, Line 25.

10:45:06   3     Q.   But so you have no personal knowledge of whether or not

10:45:09   4     Sprint has used the Nextel mark in the last three years.

10:45:11   5     A.   No.

10:45:13   6     Q.   Have you ever talked to anyone at Sprint about their use of

10:45:15   7     the Nextel mark?

10:45:16   8     A.   Yes.

10:45:19   9     Q.   I don't know their names -- oh, who?

10:45:21 10      A.   I don't know their names.     I just go to different stores and

10:45:26 11      ask them if I can buy a Nextel and --

10:45:28 12      Q.   Which stores have you gone to?

10:45:31 13      A.   Sprint stores.    I mean, there's one in -- we went to one in

10:45:36 14      Orlando during the trade show.      The one, the one near our, our

10:45:39 15      -- Jose's office in Davie, on University Drive.         And they just

10:45:42 16      tell us they make an app called Direct Connect, but there's no

10:45:44 17      Nextel anymore.

10:45:46 18      Q.   And when did you visit the store precisely?

10:45:49 19      A.   I don't know the exact dates, but it would have been one

10:45:55 20      time during the trade show and then probably in 2017 sometime.

10:45:58 21                  MR. KERNELL:   We can move to Page 105, Line 18.

10:46:03 22      Q.   Did anyone visit the Sprint store in Las Vegas with you in

10:46:03 23      2017?

10:46:04 24      A.   Yes.

10:46:05 25      Q.   Who?


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 38 of 127 38




10:46:06   1     A.     Mr. Rivera.

10:46:08   2     Q.     And who did you talk to at the Sprint store?

10:46:10   3     A.     Some faceless employee that essentially answered -- you

10:46:14   4     know, asked me if I wanted to buy anything and I said I want to

10:46:16   5     buy a Nextel.

10:46:18   6     Q.     So a retail store employee?

10:46:21   7     A.     I think I spoke to the manager because I kept asking for to

10:46:24   8     buy 20 Nextels.

10:46:28   9     Q.     So the employee referred you to Nextel app?

10:46:33 10      A.     No, it's it was an app called Direct Connect.      Not a Nextel

10:46:34 11      app.

10:46:35 12      Q.     And so this visit --

10:46:38 13      A.     Which is not the same thing as the device that I was looking

10:46:42 14      for.    And he said you couldn't by the Nextel device anymore.

10:46:46 15      You could just get an app called Direct Connect.         I said I don't

10:46:47 16      want an app.

10:46:50 17      Q.     And you're certain you spoke to a manager during this visit?

10:46:52 18      A.     Yes.

10:46:59 19                    MR. KERNELL:   Continue onto Page 110.   Line 10.

10:47:03 20      Q.     Did you search Google for Nextel?

10:47:07 21      A.     As far as what do you mean search for, to buy Nextel?

10:47:11 22      Q.     No, did you -- yeah, well sure.     Did you search, did you

10:47:14 23      attempt to buy Nextel-branded products to determine if Sprint

10:47:16 24      was still using it?

10:47:19 25      A.     Like I said, I did try the stores because that's where you


                               PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                      TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 39 of 127 39




10:47:23   1     buy them normally since Sprint bought Nextel, but they just

10:47:28   2     basically looked at me like I was crazy.

10:47:32   3                  MR. KERNELL:     Continue on at Page 111, Line 20.

10:47:36   4     Q.   Can you mark this as Exhibit 6.

10:47:38   5     A.   Thank you.

10:47:43   6     Q.   So Mr. Calabrese, did you perform a Google search for Nextel

10:47:45   7     when you were trying to determine if Sprint was still using the

10:47:46   8     Nextel mark?

10:47:48   9     A.   Yes.

10:47:51 10      Q.   And did you get the results that looked like this?

10:47:52 11      A.   Yes.

10:47:53 12      Q.   Picture on Exhibit 8?

10:47:55 13      A.   Uh-huh.

10:47:56 14      Q.   8?

10:48:00 15      A.   Uh-huh.     In fact, I do.     I remember this exact result.

10:48:03 16      Q.   Okay.     And if you could turn to the next page, it shows a

10:48:04 17      second result.

10:48:05 18      A.   Yes.

10:48:07 19      Q.   Do you see the word Nextel on the page?

10:48:09 20      A.   The third page or the second page?

10:48:11 21      Q.   Oh, I'm sorry, the third page.

10:48:15 22      A.   Right.     Yes.   And I, I did.    And I -- and this is the exact

10:48:19 23      thing I arrived at.         And when I clicked on it, it took me to a

10:48:24 24      thing which didn't have Nextel product anymore.         It was like an

10:48:27 25      old page.     You know, like for instance, the phone I see at the


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 40 of 127 40




10:48:31   1     top right there, it wasn't available for purchase.         That model.

10:48:34   2     And like it showed the old iDEN phone statute of limitation.          So

10:48:39   3     when I clicked on it, it took me to a new page with all the

10:48:40   4     smartphones on the app.

10:48:43   5     Q.     And this phone you see at the top, what phone is that?

10:48:47   6     A.     I'm not sure what the model is, but it's -- it's like, it's

10:48:52   7     not the iDEN phone.       It's the one that's on the Sprint PCS.     You

10:48:54   8     know, CDMA network.

10:48:58   9     Q.     But so you agree that when you searched, you saw that Nextel

10:49:02 10      was used in the Sprint website, correct?

10:49:06 11      A.     Yeah, I didn't see that it was used, I saw that it was old

10:49:08 12      information.

10:49:11 13      Q.     Okay.     But you saw the word Nextel on the website; is that

10:49:12 14      correct?

10:49:15 15      A.     No.     I didn't see.   I don't remember what I saw when I did

10:49:19 16      the search.       I just remember trying to find the product that

10:49:22 17      was, that was -- you know, looking for, and then I drilled down

10:49:26 18      to it and it -- and then it would go to an app.

10:49:34 19      Q.     When you say drilled down, what are you clicking on?

10:49:37 20      A.     I don't, I mean, links that said, you know, push-to-talk and

10:49:41 21      stuff like that.       But I pushed, you know.

10:49:44 22      Q.     But so you don't recall whether Nextel was on the page or

10:49:45 23      not?

10:49:48 24      A.     See, see, I, I don't recall whether Nextel was on the page

10:49:53 25      or not.      I, I, I do remember it said Direct Connect and I said


                              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                     TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 41 of 127 41




10:49:59   1     this, this.     And then it said Sprint Direct Connect.      Sprint

10:50:02   2     Direct Connect Plus.     And then it showed a bunch of smartphones,

10:50:06   3     but it didn't say, you know, well, the first page that came up

10:50:09   4     showed like old stuff that was over ten years old.         And then I'd

10:50:13   5     click on it and it would like be like redirecting.         And it would

10:50:17   6     show like smartphones and apps.

10:50:20   7     Q.   Well, I'm not asking you what products were for sale.         I'm

10:50:26   8     simply asking are you telling me that you Google searched

10:50:26   9     Nextel?

10:50:26 10      A.   Uh-huh.

10:50:30 11      Q.   And you just testified that you remembered this list of

10:50:32 12      results, correct?

10:50:35 13      A.   I remember a, a Google search result and it said like

10:50:38 14      Wikipedia, this, that and the other thing.

10:50:42 15      Q.   And did it say Nextel Direct Connect push-to-talk mobile

10:50:44 16      phones from Sprint?

10:50:47 17      A.   I don't recall it said exactly that, but it said shop at

10:50:50 18      Sprint and I was trying to shop.

10:50:52 19      Q.   But you don't remember if it said Nextel.

10:50:56 20      A.   No.    I remembered it said that you could shop for the one --

10:51:01 21      Q.   Why did you click on the link if it didn't say Nextel?

10:51:05 22      A.   Why didn't I click on it if it said Nextel?        Because I was

10:51:08 23      trying to research everything.      I mean, I didn't know if it

10:51:12 24      didn't say -- it did say it or it didn't if I got there, you

10:51:15 25      know.     But all I can tell you is that, you know, essentially


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 42 of 127 42




10:51:18   1     when I arrived on it and I did click on it -

10:51:19   2     Q.   Click on what?

10:51:19   3     A.   The link.

10:51:20   4     Q.   I'm sorry, what link?

10:51:24   5     A.   The link that came out that I got as a result.

10:51:37   6                  MR. KERNELL:   If we could move on to Page 130 Line 6.

10:51:40   7     Q.   Mr. Calabrese, are you familiar with the Nextel chirp?

10:51:41   8     A.   No.

10:51:45   9                  MR. KERNELL:   Moving on to Line 23.

10:51:47 10      Q.   Okay.     So NW does not use a Nextel chirp?

10:51:49 11      A.   No.

10:51:59 12                   MR. KERNELL:   Move to Page 139 Line 12.

10:52:04 13      Q.   Have you or NW ever used what we're referring to as the

10:52:07 14      Motorola tone in any manner whatsoever?

10:52:11 15      A.   No.

10:52:21 16                   MR. KERNELL:   If we move to Page 148, Line 10.

10:52:25 17      Q.   Do you require that your customers inform the public that

10:52:27 18      Sprint has abandoned the Nextel brand?

10:52:27 19      A.   No.

10:52:31 20      Q.   Do you require that your customers place any disclaimer of

10:52:35 21      association with Sprint on their Nextel materials?

10:52:38 22      A.   Let me back up a little bit.      When you say customers, you're

10:52:43 23      referring to end users or are you referring to our dealers?

10:52:46 24      Q.   I'm referring to companies or individuals who purchase

10:52:48 25      Nextel products directly from NW.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 43 of 127 43




10:52:52   1     A.   Okay.     Yeah.     Those are our dealers and yes, we ask our

10:52:55   2     dealers to put on their website or their informational the same

10:52:59   3     disclaimer that we have on our website.

10:53:12   4                  MR. KERNELL:     We can move on to Page 161, Line 24.

10:53:16   5     Q.   Do you use Kodiak technology to provide push-to-talk?

10:53:18   6     A.   No.

10:53:22   7     Q.   What technology do you use?

10:53:27   8     A.   I'm sorry.        Go back one.     We use the technology in my

10:53:28   9     patents.

10:53:30 10      Q.   What technology is that?

10:53:35 11      A.   It's basically ROIP that we purchased a source code for my

10:53:41 12      other company in 2004 or '05.           We license it.

10:54:06 13           MR. KERNELL:        If we can move to Page 169.     Line 3.     Sorry.

10:54:24 14      If we could move to Page 196, Line 17.

10:54:27 15                   THE COURT:     Not 169, Line 3.

10:54:31 16                   MR. KERNELL:     196 Line 17.

10:54:40 17      Q.   At the IWCE 2017, did anyone ask you or other NW employee

10:54:44 18      how NW was related to the original Nextel?

10:54:47 19      A.   People definitely did, but I don't recall who it was because

10:54:50 20      there was a lot, many thousands of people there.

10:54:54 21      Q.   Okay.     About how many people would you say asked?

10:54:58 22      A.   Not many.     I mean very, very few.        I don't know.     I couldn't

10:55:01 23      give you, you know, an exact number.

10:55:06 24      Q.   Okay.     More than five?        Less than five?

10:55:08 25      A.   Less than five.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 44 of 127 44




10:55:21   1                  MR. KERNELL:   We could move on to Page 204, Line 10.

10:55:24   2     Q.   And when does -- the nextelworldwide.com website right now

10:55:29   3     includes the disclaimer relating to Sprint, correct?

10:55:32   4     A.   Has a disclaimer at the bottom, yeah, basically saying that

10:55:36   5     we're not affiliated with Sprint in any way and we, you know,

10:55:40   6     because of the bad reputation that we known to have and that can

10:55:46   7     affect our people's perception on the Nextel brand.

10:55:53   8                  MR. KERNELL:   Continue to Page 213, Line 17.

10:55:56   9     Q.   Mr. Calabrese, this is Exhibit 21.      Do you recognize this

10:55:57 10      document?

10:56:03 11      A.   I, I, I, I do recognize this document.       Not as a current

10:56:06 12      document, but I do recognize this.       I do recollect the document.

10:56:12 13      Q.   Okay.     So this document marked Nextel 1055.     Is this a

10:56:12 14      letter that you drafted?

10:56:14 15      A.   Yes.

10:56:16 16      Q.   Was this letter ever sent?

10:56:21 17      A.   It was sent and when, when I, we signed up our manufacture

10:56:25 18      reps being, this one being Power Sales, it was sent with their

10:56:29 19      demo equipment like a welcome letter.       So it was sent, it wasn't

10:56:32 20      sent, you know, it was sent in conjunction with one of these,

10:56:34 21      I'm not sure.

10:56:37 22      Q.   So the purpose of this letter was to welcome a

10:56:40 23      manufacturer's rep essentially?

10:56:40 24      A.   Yes.

10:56:45 25      Q.   And is Power Sales no longer a manufacturer's representative


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 45 of 127 45




10:56:46   1     for NW?

10:56:50   2     A.   No, they're -- they're, I mean, yes, they are no longer a

10:56:55   3     manufacturer's rep.     They are highly influenced negatively by

10:56:57   4     what they were sent by your client.

10:57:00   5     Q.   And in the first paragraph of this letter it states you may

10:57:04   6     be familiar with our brand name and we believe it is key in

10:57:09   7     customer residual goodwill, as well as telegraphing to dealer

10:57:17   8     and end users our business in one single word.        What do you mean

10:57:23   9     by customer residual goodwill?

10:57:25 10      A.   Meaning the good experience, you know, the goodwill that

10:57:27 11      basically was written off when the brand was abandoned that we

10:57:31 12      can bring back and you know to its former glory by being good

10:57:35 13      steward of the brands with RetroBrands.       So that's pretty much

10:57:37 14      the one, you know.     That's one thing that we feel that the

10:57:40 15      brand, before it was affiliated with Sprint, had a lot of --

10:57:43 16      people had a favorable experience.

10:57:45 17      Q.   And is it your position that there's no remaining goodwill

10:57:47 18      in the Nextel brand?

10:57:50 19      A.   No.    I thought it was your position because you guys wrote

10:57:53 20      the goodwill off.     You said, and you dropped the name.

10:57:56 21      Q.   Well Mr. Calabrese, I'm asking.      Do you believe that there's

10:57:59 22      any remaining goodwill in the Nextel brand?

10:58:02 23      A.   Now that we're, you know, have the Nextel brand yes, I

10:58:06 24      believe that now, that now, that there's -- goodwill has been

10:58:07 25      returned.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 46 of 127 46




10:58:11   1     Q.   Before NW started selling Nextel products, was there any

10:58:13   2     remaining goodwill in the Nextel brand?

10:58:17   3     A.   No.    It had been written off and it was abandoned.

10:58:31   4                 MR. KERNELL:   Continuing on at Page 234, Line 5.

10:58:35   5     Q.   Mr. Calabrese, can I -- can you tell me generally who are

10:58:38   6     the end users for NW Nextel product?

10:58:41   7     A.   To be brief, I mean mostly transportation, security,

10:58:45   8     hospitality.    Transportation is a big one because these people

10:58:47   9     don't -- they don't want them to use their cellphones and

10:58:50 10      driving, so mostly those three industries.        But it could be

10:58:53 11      anybody that wants a walkie-talkie.

10:58:57 12                  MR. KERNELL:   Continue onto Page 237, Line 6.

10:59:01 13      Q.   Mr. Calabrese, do you recognize the document marked as

10:59:05 14      Exhibit 26 and stamped on the bottom with Nextel 1022?

10:59:08 15      A.   I've never seen it but I recognize it, yes.

10:59:09 16      Q.   And what is this document?

10:59:11 17      A.   It's a balance sheet.

10:59:13 18      Q.   Is this NW's balance sheet?

10:59:14 19      A.   Yes.

10:59:16 20      Q.   Does this look accurate to you?

10:59:20 21      A.   Yes, it looks accurate.     I mean, we rely on, on the --

10:59:22 22      somebody to help us keep it accurate.       So I would think it's

10:59:24 23      accurate.

10:59:37 24                  MR. KERNELL:   Continuing on to Page 252, Line 20.

10:59:41 25      Q.   Have you written down anything anywhere that details of what


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 47 of 127 47




10:59:44   1     you view as your losses from Sprints cease and desist letters

10:59:46   2     Mr. Calabrese?

10:59:46   3     A.    Yes.

10:59:47   4     Q.    Where?

10:59:49   5     A.    In my notebook.

10:59:53   6     Q.    Have you produced your notebook to your attorneys?

10:59:56   7     A.    I don't know if I produced it.       I mean, I have -- I have a

11:00:00   8     notebook and they're more than welcome to look at it.          You know,

11:00:03   9     I don't know if I produced it or they sat with me and, you know,

11:00:08 10      yesterday and we reviewed all the, the -- what do you call it,

11:00:11 11      topics for examination.

11:00:17 12                   MR. KERNELL:    If we can continue on to Page 260, Line

11:00:19 13      17.

11:00:22 14      Q.    All right.    So Mr. Calabrese, a few times today you've

11:00:28 15      alluded to damages that you believe -- monetary damages.

11:00:32 16                   MR. RIOPELLE:    Excuse me.

11:00:34 17                   MS. SOLOMON:    Jim, no.

11:00:35 18                   MR. RIOPELLE:    This was ruled out yesterday by the

11:00:37 19      Court.

11:00:49 20                   (Counsel conferring)

11:01:18 21                   MR. KERNELL:    If we can continue to Page 278.    Line 15.

11:01:21 22      Q.    All right.    Mr. Calabrese, do you recall receiving this

11:01:27 23      letter that I've handed you marked as Exhibit 27, the SPR 114 on

11:01:28 24      it, on the bottom?

11:01:30 25      A.    Yes.


                              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                     TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 48 of 127 48




11:01:34   1     Q.   Okay.     When you received this letter, did you investigate

11:01:37   2     whether or not Sprint was still using Nextel?

11:01:40   3     A.   I did not.     I believe Mr. Rubin was involved at that point

11:01:43   4     so we relied on his information that you see.

11:01:49   5                  MR. RIOPELLE:     Objection, Your Honor.    That answer was

11:01:52   6     ruled out yesterday too.

11:02:05   7                  THE COURT:     You guys get together away from the

11:02:08   8     microphone and deal with this.

11:02:23   9                  MR. KERNELL:     Your Honor, may I approach the witness

11:02:27 10      make sure our copies are in sync?

11:02:31 11                   THE COURT:     Certainly.

11:02:45 12                   (In-place recess)

11:03:19 13                   THE COURT:     Where are we now?

11:03:39 14                   MR. KERNELL:     I apologize, Your Honor.

11:03:40 15                   THE COURT:     Not a problem.

11:03:46 16                   MR. KERNELL:     We're starting at Page 278, Line 15.

11:03:49 17      Q.   All right.     Mr. Calabrese, do you recall receiving this

11:03:54 18      letter that I've handed to you marked as Exhibit 27 with SPR 114

11:03:55 19      on the bottom?

11:03:56 20      A.   Yes.

11:03:59 21      Q.   Okay.     When you received this letter, did you investigate

11:04:02 22      whether or not Sprint was still using Nextel?

11:04:03 23      A.   I did not.

11:04:08 24      Q.   And you did -- and did you -- what did you do in response to

11:04:08 25      the letter?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 49 of 127 49




11:04:12   1     A.     I pretty much just, like, shook my head at it.

11:04:15   2     Q.     So did you do anything in response to this letter?

11:04:18   3     A.     Not that I can recall.

11:04:22   4     Q.     Did you -- did NW stop selling Nextel-branded goods in

11:04:23   5     response to this letter?

11:04:27   6     A.     Not that I can recall.         No.

11:04:31   7     Q.     So you kept selling Nextel-branded goods after receiving

11:04:32   8     this letter.

11:04:35   9     A.     Yes.

11:04:43 10                     MR. KERNELL:     Continuing on to Page 286, Line 16.

11:04:53 11      Q.     Okay.     Mark this as 30.

11:04:54 12      A.     Thank you.

11:04:57 13                     THE COURT:     What line on 286?

11:05:00 14                     MR. KERNELL:     Really starting at Line 22.

11:05:02 15                     THE COURT:     Okay.

11:05:07 16      Q.     Okay.     Mr. Calabrese, the exhibit marked as Exhibit 30, it's

11:05:13 17      marked SPR 257 at the bottom, do you see the CC line where it

11:05:14 18      says Stephen Calabrese?

11:05:15 19      A.     Yes.

11:05:17 20      Q.     Did you receive this e-mail?

11:05:19 21      A.     Most likely,     yes.

11:05:32 22                     MR. KERNELL:     Continuing on to Page 292.    Line 7.

11:05:37 23      Q.     Mr. Calabrese, the e-mail marked as Exhibit 31, it's SPR

11:05:37 24      186.

11:05:38 25      A.     Uh-huh.


                               PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                      TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 50 of 127 50




11:05:40   1     Q.   Did you receive this e-mail?

11:05:41   2     A.   It looks like I did, yes.

11:05:46   3     Q.   And this e-mail was sent on February 18, 2018; is that

11:05:46   4     correct?

11:05:48   5     A.   Yes.

11:05:51   6     Q.   Was Mr. Rubin representing you at the time this e-mail was

11:05:51   7     sent?

11:05:53   8     A.   Yes.

11:05:57   9     Q.   Do you disagree with anything that Mr. Rubin said in this

11:05:59 10      e-mail?

11:06:02 11      A.   At the time period of February 8th, yeah, I do not disagree

11:06:05 12      with any of it.

11:06:21 13                  MR. KERNELL:     That is all for Mr. Calabrese's

11:06:22 14      deposition.

11:06:25 15                  THE COURT:     Any counter-designations?     Or cross?

11:06:26 16                  MR. RIOPELLE:     No, Your Honor.

11:06:30 17                  THE COURT:     All right.   Next?   Thank you, ma'am.

11:06:33 18      Unless you're reading the next one too.

11:06:34 19                  MS. SOLOMON:     I am.

11:06:38 20                  THE COURT:     There is a next one.    Go.

11:06:44 21                  MR. RIOPELLE:     We do have one issue in relation to

11:06:48 22      bring up with the Court, but we can do it during a break.

11:06:50 23                  THE COURT:     Well, we can take a break right now.      It's

11:06:53 24      been a little over an hour so let's take a break right now and

11:06:55 25      then we'll come back, take ten minutes.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 51 of 127 51




11:06:58   1               COURT SECURITY OFFICER:        All rise for the jury.

11:06:59   2               THE COURT:     Might be a little more because we're going

11:07:04   3     to have to talk and I need to go too.

11:07:19   4               (Jury out at 11:07 a.m.)

11:07:32   5               THE COURT:     Be seated.     Yes?

11:07:37   6               MR. RIOPELLE:     I just want to -- how should I deal --

11:07:39   7     now that his testimony has gone in, we believe some of the

11:07:43   8     testimony is untrue, how would you like me to deal with

11:07:49   9     informing the jury that Mr. Calabrese is a convicted felon?

11:07:51 10                THE COURT:     What's your position?

11:07:53 11                MR. SCHWARTZ:     That it's totally impermissible.

11:07:57 12                THE COURT:     Why?   If a witness takes the stand.

11:08:00 13                MR. SCHWARTZ:     There's nothing impeach.     He hasn't

11:08:00 14      impeached anything.

11:08:03 15                THE COURT:     He doesn't have to impeach.     He just has to

11:08:07 16      argue to them you have to consider his testimony carefully

11:08:10 17      because he's a convicted felon.         Isn't that what the rule says?

11:08:11 18                MR. SCHWARTZ:     That was not my understanding of the

11:08:12 19      rule, Your Honor.

11:08:16 20                THE COURT:     Well, what does it say?     Impeachment of a

11:08:31 21      witness by felony conviction?         If they put him on the stand,

11:08:35 22      they couldn't impeach him but I don't see any reason why they

11:08:44 23      can't impeach him if you put the -- what's the rule?

11:08:46 24                MR. KERNELL:     Your Honor, this deposition was taken by

11:08:48 25      Plaintiff.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 52 of 127 52




11:08:51   1               THE COURT:     I know, but they didn't introduce it.      They

11:08:55   2     didn't believe him for a minute so they didn't introduce him.

11:08:57   3               MR. KERNELL:     They put him on their witness list.

11:08:59   4               THE COURT:     Sure, but they didn't call him.

11:09:02   5               MR. KERNELL:     They have not pointed out anything in his

11:09:05   6     testimony where he contradicted himself, that he --

11:09:07   7               THE COURT:     He doesn't have to contradict himself.

11:09:16   8     What is the rule on impeachment by felony conviction?

11:09:18   9               MR. RIOPELLE:     I believe it's Rule 609, Your Honor.

11:09:19 10                THE COURT:     That's what I thought it was, but I'm

11:09:22 11      getting there.

11:09:26 12                MR. RIOPELLE:     And I know you have obviously the motion

11:09:34 13      in limine ruling on it, may be easier to look at that.

11:09:56 14                THE COURT:     The question is when you offer his

11:09:59 15      testimony by deposition, what is the manner of introducing the

11:10:03 16      criminal conviction.      Is there any dispute as to the fact that

11:10:07 17      there was, in fact, a criminal conviction?        Did you ever -- did

11:10:11 18      he ever admit it during his deposition?       Was he asked it?

11:10:13 19                MR. RIOPELLE:     As a matter of fact, during his

11:10:16 20      deposition the reason we didn't play it is because he lied about

11:10:19 21      it.   He did not say it was a felony conviction.        He said he had

11:10:22 22      an argument with his girlfriend and he got three years'

11:10:25 23      probation which is not true.

11:10:28 24                THE COURT:     Do you have a certified record of his

11:10:35 25      conviction?   It's got to be admissible.      Can't just say he was


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                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 53 of 127 53




11:10:36   1     convicted.

11:10:40   2               MR. RIOPELLE:    I do not have a certified copy because I

11:10:42   3     believe some of it is under seal.

11:10:44   4               THE COURT:    I don't understand.     How does it get to be

11:10:46   5     under seal?

11:10:47   6               MR. RIOPELLE:    I don't understand either.

11:10:48   7               THE COURT:    Where is the conviction?

11:10:50   8               MR. RIOPELLE:    I believe it's in the Northern District

11:10:52   9     of Illinois.

11:10:58 10                THE COURT:    That's the problem with having -- well, but

11:11:01 11      if he lied about it, I don't know what you could do about it.

11:11:05 12      Seems to me that when he lied about it, you should have come up

11:11:10 13      with some way of proving it.      How do you -- you know, I don't

11:11:13 14      think you can say that he has a felony conviction even if

11:11:19 15      everybody knows it.     You have to prove it.     How do you propose

11:11:23 16      to prove it?

11:11:26 17                MR. RIOPELLE:    I was going -- based on the Court's

11:11:33 18      motion in limine ruling, all I was planning on doing was either

11:11:36 19      me informing the jury that he's a convicted felon or having the

11:11:37 20      Court inform the jury.

11:11:40 21                THE COURT:    I don't know that he's a convicted felon.

11:11:43 22                MR. RIOPELLE:    I believe they did not -- they moved --

11:11:49 23      actually it was their motion to exclude the evidence that he's a

11:11:51 24      convicted felon, so they agree he's a convicted felon.

11:11:53 25                MR. SCHWARTZ:    That's not what we -- Your Honor, that's


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                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 54 of 127 54




11:11:58   1     not what we moved for.      We moved to allow him to appear by video

11:12:01   2     after

11:12:05   3                 (Counsel conferring)

11:12:06   4                 MR. SCHWARTZ:   I apologize.

11:12:08   5                 THE COURT:   Good Lord there's a lot of apologizing

11:12:13   6     going on.    How about thinking before we talk, then we don't have

11:12:22   7     to apologize.    I think you have to prove it and I don't know how

11:12:25   8     you're going to do that.      You better figure out a way to do it

11:12:28   9     because I don't think you saying so makes it so.         I don't think

11:12:33 10      that them -- what does their motion say?        I don't have it in

11:12:40 11      front of me at the moment.      I don't feel like looking it up.

11:13:02 12                  MR. RIOPELLE:   The Court's ruling was they tried to

11:13:06 13      exclude evidence of his.

11:13:09 14                  THE COURT:   Read to me what they said.

11:13:12 15                  MR. RIOPELLE:   I don't have the motion, I just have

11:13:13 16      your ruling.

11:13:15 17                  THE COURT:   I will have it.   Go ahead.     Read my ruling.

11:13:19 18                  MR. RIOPELLE:   Your ruling is several pages, Your

11:13:20 19      Honor.

11:13:22 20                  THE COURT:   Read the pertinent part.      There must be

11:13:23 21      something.

11:13:24 22                  MR. RIOPELLE:   Therefore, this Court finds that on

11:13:28 23      balance, any prejudice suffered by Defendants is outweighed by

11:13:32 24      the assumed probative value in the civil matter of a criminal

11:13:35 25      conviction admissible under Rule 609 A.       Therefore, Defendants'


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 55 of 127 55




11:13:39   1     motion, ECF Number 239, is denied as to this issue.

11:13:40   2               THE COURT:    Okay.

11:13:42   3               MR. RIOPELLE:    While this Court finds that Plaintiff

11:13:44   4     may attack Mr. Calabrese's character for truthfulness --

11:13:50   5     truthfulness with his criminal conviction, this Court advises

11:13:53   6     Plaintiff to exercise caution regarding this issue at trial.

11:13:57   7               THE COURT:    Okay.     You still got to prove it.      Saying

11:13:59   8     so doesn't make it so.

11:14:03   9               MR. RIOPELLE:    Well, I mean, I do now have a copy of it

11:14:08 10      electronically which we could print out.        But --

11:14:08 11                THE COURT:    Is it.

11:14:12 12                MR. RIOPELLE:    I mean they -- well, I understand.

11:14:14 13                THE COURT:    You tell me what rule of evidence it comes

11:14:19 14      in under and I'll consider it.        See what loophole you can find

11:14:24 15      and if you find it, if it's admissible, I'll permit it.            If it's

11:14:29 16      not, I can't.    All right?      What else we got?

11:14:32 17                MR. RIOPELLE:    That was it.     I just wanted to get the

11:14:34 18      Court's guidance on that.        I thought the Court already ruled

11:14:35 19      that it's admissible.

11:14:36 20                THE COURT:    I don't know that it's admissible.         I'm

11:14:39 21      just saying I denied their motion.        If you can admit it, if you

11:14:50 22      can get it into evidence, it's admissible.           All right.   Going to

11:14:54 23      take five minutes then.       Be back in five

11:14:54 24                COURT SECURITY OFFICER:       All rise.

11:14:55 25                (Brief recess)


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                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 56 of 127 56




11:20:11   1                THE COURT:   Be seated.    We'll wait until everybody's

11:20:11   2     here.

11:21:17   3                Do you know where counsel is, counsel?

11:21:54   4                Before we call the jury back in, I just reviewed the

11:21:58   5     documents on the evidence of Defendant Calabrese's criminal

11:22:15   6     history.     Defendants admit that he was a Defendant in a matter

11:22:18   7     in the US District Court in the Northern District of Illinois,

11:22:23   8     give the case number, he was sentenced to three years of

11:22:33   9     supervised release.     You indicate that it was not punishable by

11:22:40 10      imprisonment for more than one year.       Cyberstalking is an

11:22:44 11      offense that is clearly a felony, it is definitely by

11:22:46 12      imprisonment for more than one year.       The statement that it was

11:22:52 13      not a felony appears to be false.       I don't know if it's a

11:22:55 14      mistake, but it's not right.      Where did you get that?

11:22:56 15                 MR. SCHWARTZ:   I'm sorry, Your Honor.     Where was the

11:22:59 16      statement made?

11:23:02 17                 THE COURT:   Defendants; motion in limine to preclude

11:23:06 18      the Plaintiff from using this.       Introduction of the criminal

11:23:09 19      matter should be excluded because it is not -- it was not

11:23:14 20      punishable by imprisonment for more than one year.         Did not

11:23:18 21      involve a dishonest act or false statement.

11:23:21 22                 MR. SCHWARTZ:   That must be a mistake, Your Honor.

11:23:21 23      Apologize.

11:23:24 24                 THE COURT:   It is definitely a felony, wasn't it?

11:23:24 25                 MR. SCHWARTZ:   Yes, Your Honor.


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                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 57 of 127 57




11:23:26   1               THE COURT:    But the representation is that it was not a

11:23:29   2     felony and now -

11:23:37   3               MR. SCHWARTZ:    I think the simple confusion was that it

11:23:38   4     was a supervised release.

11:23:40   5               THE COURT:    Yeah.   He was not punished by more than one

11:23:44   6     year, but you don't have to get any jail time for it to be a

11:23:50   7     felony and it clearly is a felony.       Now I'm troubled by the fact

11:23:58   8     that although you admit that it was a felony and he's not here

11:24:02   9     because they asked for him to be here, and you say that he's not

11:24:08 10      here because he's in a mental health ward or something, or a

11:24:11 11      mental health facility?     Is that what it is?

11:24:12 12                MR. SCHWARTZ:    That's where he is.      They didn't

11:24:15 13      subpoena him.    They had to subpoena him.

11:24:17 14                THE COURT:    Well, I don't know that -- you know, I

11:24:21 15      don't know that they need to subpoena him, he's a party.          But --

11:24:24 16      well, let me hear from their side as to --

11:24:26 17                MR. RIOPELLE:    We certainly tried to subpoena him.       We

11:24:30 18      asked them if they would accept service of the subpoena because

11:24:32 19      on the witness list it was listed that we should serve through

11:24:36 20      them.   They did not agree.     We asked for address where we could

11:24:41 21      serve him, they did not give us one.       We tried various

11:24:48 22      locations, we could not find him.       We tried.   The Court recalls

11:24:53 23      last Friday at the calendar call I asked if we could serve him

11:24:56 24      through e-mail because we were unable to find him.         So we tried

11:24:57 25      to subpoena him.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 58 of 127 58




11:24:58   1               THE COURT:     Yeah, and I'm not really requiring you to

11:25:03   2     bring a guy from a mental health facility to come to court.           I

11:25:05   3     don't want to be responsible for -- I don't think the Marshals

11:25:10   4     want me to bring people from mental health facilities, they want

11:25:13   5     me to send them to mental health facilities.

11:25:16   6               The point is this looks like you're using this as a

11:25:23   7     sword rather than a shield.         It's very troublesome to me that if

11:25:28   8     he were here, and further, it would appear that he lied on his

11:25:32   9     deposition when he said that it was -- you know, tell me what it

11:25:37 10      is that he said?    I don't want to read through that thing again.

11:25:41 11                MR. RIOPELLE:     Give me a second, Your Honor.     I'll find

11:25:44 12      it so I don't misrepresent or mischaracterize.

11:25:46 13                THE COURT:     I'd rather we didn't.     All things being

11:26:00 14      equal, I'd just as soon -- I'm not sure how much weight a jury

11:26:04 15      puts on a felony conviction, but it just seems wrong that this

11:26:08 16      -- here is a man who is convicted under a felony and who

11:26:14 17      apparently lied about it on his deposition, and has now,

11:26:20 18      according to you, checked himself into a mental health facility,

11:26:40 19      has not become amenable to the service, I might let them put the

11:26:43 20      electronic record in.

11:26:45 21                MR. RIOPELLE:     Your Honor, would you like me to read it

11:26:48 22      or would you like me to hand it up to you.

11:26:50 23                THE COURT:     Read it.     Don't put the emphasis on

11:26:54 24      whatever syllables you want.

11:26:55 25                MR. KERNELL:     Could we have the reference please?


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 59 of 127 59




11:26:59   1                MR. RIOPELLE:   Yeah, I'm starting at -- I'm just going

11:27:04   2     to start at Page 23, Line 4 because that's where the colloquy

11:27:12   3     starts.    I don't know specifically how far it goes because I

11:27:24   4     haven't marked it.     All right.   I'm just going to start reading,

11:27:25   5     Your Honor.

11:27:30   6                So starting at Mr. Calabrese's deposition Page 23, I'm

11:27:31   7     starting at Line 4.

11:27:34   8                Mr. Calabrese, excluding traffic offences have you ever

11:27:37   9     been arrested?    Answer, yes.

11:27:41 10                 What for?   I think it was like driving, driving under

11:27:43 11      the influence and, like, I got in a fight with my girlfriend or

11:27:46 12      something like that and I said something to her that was

11:27:47 13      supposed to --

11:27:50 14                 Question, were you charged in connection with those

11:27:52 15      arrests?    To be clear, were you charged with a crime in

11:27:55 16      connection with those arrests?      Answer, yes, yes.

11:27:58 17                 Question, what were you charged with?      Answer, I'm not

11:28:02 18      sure of the actual crime.     I know -- I know, you know, I got

11:28:06 19      charged, like, because I wouldn't take a sobriety test, and then

11:28:10 20      one time -- and then basically that's pretty much all I remember

11:28:14 21      as far as a charge.     I just know I was definitely arrested.

11:28:16 22                 Question, were you -- have you been convicted of

11:28:17 23      driving under the influence.

11:28:20 24                 This isn't the one we're doing, but I'm just going

11:28:21 25      through.    If you want me to pause?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 60 of 127 60




11:28:24   1                 THE COURT:   No, I read it all.   I read fast.    I read it

11:28:28   2     all.   But you never asked him were you ever convicted of a

11:28:35   3     felony, did you?     I'm not finished reading, so let's see.

11:28:45   4                 MR. RIOPELLE:   I think the question we asked is on Page

11:28:48   5     24 at Line 20.     We asked him if he was convicted of a crime.

11:28:49   6                 THE COURT:   Yeah.

11:28:50   7                 MR. SCHWARTZ:   And he said yes, Your Honor.

11:28:53   8                 THE COURT:   He said yes, so he hadn't lied yet.

11:28:56   9                 Then were you convicted of a crime and his answer was

11:29:00 10      somewhat misleading, but not lie.       I got probation.    So I think

11:29:01 11      so, yeah.

11:29:04 12                  You ever plead guilty or were you found guilty.       I

11:29:06 13      think so, I think I pleaded guilty.

11:29:11 14                  That doesn't tee it up very well.     If you can prove it

11:29:15 15      before the trial is over, you can prove it.        How you're going to

11:29:18 16      prove it, you're going to have to tell me that it's admissible

11:29:25 17      some way, and frankly, that it's this Stephen Calabrese.

11:29:31 18                  MR. RIOPELLE:   Well, they admit that it's this Stephen

11:29:33 19      Calabrese.    I understand to prove it I need to somehow get

11:29:34 20      something in.

11:29:36 21                  THE COURT:   See what you can find and get --

11:29:38 22                  MR. RIOPELLE:   I have people smarter than me working on

11:29:40 23      it, Your Honor.

11:29:45 24                  THE COURT:   I only hire people smarter than me.      Makes

11:29:46 25      it easier that way.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 61 of 127 61




11:29:49   1                   Okay.   What are we waiting for?      What's next?

11:29:53   2                   MR. KERNELL:     We'll be calling Melissa Jobe for

11:29:54   3     deposition.

11:29:56   4                   MR. RIOPELLE:     You need the jury out.

11:29:58   5                   THE COURT:     I just want to make sure we're ready to go

11:30:00   6     when the jury comes back in.

11:30:04   7                   Please take the stand.      Bring the jury back in

11:30:05   8                   COURT SECURITY OFFICER:      All rise for the jury.

11:30:11   9                   (Jury in at 11:30 a.m.)

11:31:27 10                    THE COURT:     Please be seated.    Please present your next

11:31:28 11      witness, please.

11:31:30 12                    MR. KERNELL:     Yes, Your Honor.    We're calling Melissa

11:31:32 13      Jobe through her deposition.

11:31:32 14                    THE COURT:     All right.

11:31:38 15                    MR. KERNELL:     This was taken on January 30, 2019.    If

11:31:52 16      we could start on Page 7, Line 15.

11:31:52 17                    (Deposition of Melissa Jobe read into the record by Mr.

11:31:52 18      Kernell (Q) and Ms. Solomon (A))

11:31:57 19      Q.    Good morning, Ms. Jobe.        Could you please state your full

11:31:58 20      name for the record?

11:32:01 21      A.    My name is Melissa Jobe.

11:32:02 22      Q.    Do you have a middle name?

11:32:04 23      A.    Anne.     Sorry.

11:32:14 24                    MR. KERNELL:     If we could go forward to Page 76, Line

11:32:16 25      12.


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 62 of 127 62




11:32:23   1     Q.   Let me hand you a box that was marked as Exhibit 108.         Can

11:32:26   2     you read the first sentence in the upper right-hand corner of

11:32:29   3     that on the back of the box?

11:32:33   4     A.   This is not the same box as in the picture.        This Sprint

11:32:36   5     device is designed to be activated on the Sprint network, and

11:32:40   6     has a software programming lock that, in part, protects many of

11:32:43   7     the device's features and functions against tampering and

11:32:46   8     unauthorized reprogramming.

11:32:49   9     Q.   Does that refresh your recollection as to what was on the

11:32:53 10      back of the box shown in Exhibit 137?

11:32:54 11      A.   Yes.

11:33:01 12      Q.   Do you believe that the sentence is accurate?

11:33:02 13      A.   Yes.

11:33:05 14      Q.   If you look about halfway down on that same paragraph, it

11:33:10 15      says this device will work with Sprint services.         Do you see

11:33:11 16      that?

11:33:11 17      A.   Yes.

11:33:14 18      Q.   And then the rest of the sentence is cut off.        Again, I'm

11:33:18 19      going back, I'm going to ask you to take a look at the box

11:33:22 20      that's marked as Exhibit 108, and if you could read the sentence

11:33:26 21      that same off the Exhibit 108.

11:33:29 22      A.   This device will work with Sprint services.        Service plans

11:33:34 23      and other services slash options must be purchased separately.

11:33:37 24      Q.   Does that appear to be the complete sentence that is on the

11:33:41 25      back on the box shown in Exhibit 137?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 63 of 127 63




11:33:41   1     A.   Yes.

11:33:46   2     Q.   And then there's a copyright 2013 notice on this in the

11:33:50   3     right-hand box on the back of the box shown on Exhibit 137.          Do

11:33:50   4     you see that?

11:33:52   5     A.   Yes.

11:34:00   6     Q.   Do you know why a specimen from 2013 was being used for

11:34:04   7     Section 8 -- Section 8 and 9 in the declaration in 2015?

11:34:10   8     A.   It was not a 2013 box.     It was a current box in 2015 when I

11:34:14   9     filed it, and the copyright notice just hadn't been changed

11:34:18 10      since 2013 and I didn't catch it.       But these -- this box was

11:34:21 11      directly from our, you know, product team of what was currently

11:34:23 12      being offered into 2015.

11:34:30 13      Q.   Did you verify that this box or that this phone with 2013

11:34:33 14      box was actually being sold in a retail store?

11:34:36 15      A.   It was not in retail stores.

11:34:36 16      Q.   Where was it?

11:34:38 17      A.   It was available for purchase by businesses.

11:34:44 18      Q.   And could they purchase this phone that had a 2013 copyright

11:34:46 19      notice on it from the Sprint website?

11:34:50 20      A.   They could purchase it from a Sprint website.        It was

11:34:53 21      probably not a website that's available to the public.

11:34:56 22      Q.   And how?

11:34:59 23      A.   I mean, it's available to business customers that we have a

11:35:02 24      relationship with for them to place purchase orders, so we have

11:35:05 25      a prior -- I don't know how to explain it.


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 64 of 127 64




11:35:09   1     Q.    Well, let me see.     Are they business customers that have a

11:35:11   2     prior account with Sprint?

11:35:14   3     A.    They have an ongoing account and we sort of have, you know,

11:35:18   4     a website that they can go in and purchase for their business.

11:35:22   5     You know, it's like having a -- you know, a portal, you know,

11:35:24   6     that they can access and we know how the billing works and they

11:35:27   7     can purchase these devices.

11:35:29   8     Q.    Would this be like a login account for them and then --

11:35:31   9     A.    Yes.

11:35:35 10      Q.    Similar to what is available to a public customer, a home

11:35:39 11      user of Sprint products where you can login to my Sprint account

11:35:42 12      and see your devices, swap devices, buy different devices?

11:35:44 13      A.    Yes.

11:35:47 14      Q.    These are ones that set up for business accounts?

11:35:49 15      A.    Correct.

11:35:52 16                   MR. KERNELL:   Then if we can continue to Page 80, Line

11:35:53 17      16.

11:35:59 18      Q.    The copyright notice on the Sonim devices, is that something

11:36:02 19      that Sprint directs Sonim to change or is that something that

11:36:04 20      Sonim changes on its own?

11:36:08 21      A.    Package is done collaboratively with the Sonim.       Both teams

11:36:09 22      would have reviewed it.

11:36:13 23      Q.    So this is a device that is now -- it's not a 2014 device,

11:36:20 24      it is not a 2015 device, or it doesn't have a 2014 copyright.

11:36:28 25      It doesn't have a 2015 copyright.       How often does Sprint and


                              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                     TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 65 of 127 65




11:36:30   1     Sonim team review these labels?

11:36:34   2     A.   Typically the life span of a device does not span multiple

11:36:37   3     years.     We typically review the packaging when a device first

11:36:41   4     comes out, and it pretty much stays that way until the end of

11:36:41   5     life.

11:36:45   6     Q.   So it will remain 2013 copyright notice on it to the end of

11:36:46   7     life?

11:36:49   8     A.   Typically, unless something comes up and we are aware it

11:36:52   9     needs to change and it's one that we didn't catch.         Devices

11:36:56 10      don't typically last multiple years, to be honest.         These are

11:37:00 11      rare devices.     Typical life span for a device is less than a

11:37:01 12      year.

11:37:07 13      Q.   Do you know if the Sonim XP IS currently is being sold by

11:37:07 14      Sprint?

11:37:08 15      A.   The Sonim XP?

11:37:09 16      Q.   Strike IS.

11:37:12 17      A.   We have Sonim devices that are currently for sale.         There

11:37:15 18      are multiple models, and it's very specific.        I'm not sure that

11:37:20 19      the Sonim strike XP IS is currently for sale.

11:37:25 20      Q.   Let me hand you a device that is the Sonim XP Strike that

11:37:32 21      was marked as Exhibit 108.      Do you see that -- do you see on

11:37:38 22      that box it has a copyright notice of 2012?        Is Nextel used on

11:37:39 23      the box anywhere?

11:37:40 24      A.   No.

11:37:41 25      Q.   Why is that?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 66 of 127 66




11:37:45   1     A.   This was prior.    This was a 2012 device, and we weren't

11:37:49   2     using the Nextel marks with Sonim devices at that time.

11:37:51   3     Q.   That's a push-to-talk device, correct?

11:37:52   4     A.   Yes.

11:37:57   5     Q.   And the iDEN, the Nextel network was actually active in

11:37:58   6     2012, correct?

11:38:02   7     A.   The iDEN network was being used in 2012.

11:38:05   8     Q.   The next plans were at the time currently being sold,

11:38:06   9     correct?

11:38:08 10      A.   I'm sorry, Nextel --

11:38:10 11      Q.   Nextel plans?

11:38:13 12      A.   In 2012, yes.

11:38:18 13      Q.   There were subscribers on the Nextel platform in 2012,

11:38:19 14      correct?

11:38:22 15      A.   What do you mean by platform?

11:38:24 16      Q.   That's a Sprint term, isn't it?

11:38:27 17      A.   I don't know what a Nextel platform is.       We have the iDEN

11:38:27 18      network.

11:38:32 19      Q.   Do you know if Sprint kept track of subscribers on the

11:38:36 20      Sprint network or the Sprint platform versus the Nextel network

11:38:37 21      or platform?

11:38:42 22      A.   We kept track of users on the CDMA network and users on the

11:38:42 23      iDEN network.

11:38:45 24      Q.   There was no designation as to whether it was a Sprint

11:38:47 25      platform or a Nextel platform?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 67 of 127 67




11:38:49   1     A.   Designation by who?

11:38:50   2     Q.   By Sprint.

11:38:52   3     A.   I'm sorry.   Some people in the company called it Sprint

11:38:55   4     network and Nextel network.      But the distinguishing features are

11:38:59   5     the technology base.     CDMA or iDEN.

11:39:03   6     Q.   Do you know if Sprint would have made that designation

11:39:07   7     between, or as a Sprint platform in Nextel platform, in any

11:39:08   8     publicly available documents?

11:39:10   9     A.   I'm sure they did.

11:39:14 10      Q.   I'm going to hand you what I've marked as Exhibit 139.         This

11:39:17 11      is the form 10-K filed with the Securities and Exchange

11:39:22 12      Commission for the fiscal year ending December 31, 2012 for

11:39:25 13      Sprint Nextel corporation.      Do you see that?

11:39:26 14      A.   Yes.

11:39:30 15      Q.   If I could direct you to -- if I could direct you to the top

11:39:36 16      of the page, it's Page 35 of 213 which is actually Page 33 of

11:39:44 17      the report.    If I can direct your attention to it's right above

11:39:50 18      the table, it says the following table shows our trend of end of

11:39:55 19      period post-paid subscribers by platform for the past five

11:39:56 20      years.   Do you see that?

11:39:56 21      A.   Yes.

11:39:58 22      Q.   Did I read that correct?

11:39:58 23      A.   Uh-huh.

11:40:03 24      Q.   And then in the table, there's columns from 2012 to 2008 and

11:40:08 25      the rows are designated as the Sprint platform and the Nextel


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 68 of 127 68




11:40:09   1     platform.    Do you see that?

11:40:09   2     A.   Yes.

11:40:13   3     Q.   So does that change your understanding of how Sprint

11:40:14   4     designates two platforms?

11:40:18   5     A.   I just merely asked what you meant by platform in your

11:40:20   6     question.    I understand what this means.

11:40:22   7     Q.   Okay.    What does this mean?

11:40:27   8     A.   This is revenue from -- Sprint is the CDMA network and

11:40:28   9     Nextel is the iDEN network.

11:40:31 10      Q.   And Sprint refers to them as the Sprint platform independent

11:40:39 11      of whether it's CDMA or iDEN, or whether our whatever Nextel

11:40:42 12      platform in these two labels, doesn't it?        Called them iDEN or

11:40:44 13      CDMA network, correct?

11:40:48 14      A.   No, it doesn't.    Those words are not used, but --

11:40:54 15      Q.   Look at it.    This is Page 44 of 213.     And it's the report

11:41:02 16      Page Number 42, it says the following table shows A, net

11:41:07 17      additions, losses of wireless subscribers; B, our total

11:41:12 18      subscribers as of the end of each quarter period for the past 12

11:41:19 19      months and C, end of period connected devices subscribers.          Do

11:41:19 20      you see that?

11:41:20 21      A.   Yes.

11:41:23 22      Q.   And if you look down the left-hand column, it breaks these

11:41:28 23      -- breaks up these, I guess, categories into Sprint platform and

11:41:30 24      Nextel platform.    Do you see that?

11:41:31 25      A.   Yes.


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 69 of 127 69




11:41:34   1     Q.   And it doesn't say anything about iDEN or CDMA networks,

11:41:35   2     correct?

11:41:35   3     A.   Correct.

11:41:39   4     Q.   So back to my question.      On the device, the Sonim device

11:41:43   5     that's marked as Exhibit 108, do you know if this Sonim device

11:41:49   6     is a Sonim XP Strike, it's a Sonim XP Strike could operate on

11:41:50   7     the Nextel platform?

11:41:53   8     A.   Can I look at the box?

11:41:54   9     Q.   Sure.

11:41:59 10      A.   They are not the same device.      This is a CDMA device.

11:42:02 11      Q.   Will it work on the iDEN network?

11:42:05 12      A.   No, it will not work on the iDEN network.

11:42:07 13      Q.   Why do you say it's a CDMA device?

11:42:13 14      A.   Because it says it's a CDMA device on the back of the box.

11:42:26 15                   MR. KERNELL:   If we could move on to Page 108 starting

11:42:30 16      at Line 8.

11:42:40 17      Q.   This is for the Nextel registration 1,884,244 marked as

11:42:46 18      Exhibit 137.     When you filed the specimen statement of use in

11:42:52 19      2015 showing the Nextel mark on the Sonim XP Strike IS, that

11:42:54 20      device is a mobile phone, correct?

11:42:55 21      A.   Yes.

11:42:59 22      Q.   And when you were provided with the box that you showed a

11:43:03 23      picture of -- or that was shown, submitted a picture of a box

11:43:10 24      for the specimen for Exhibit 137, did you have -- did that have

11:43:12 25      a device in the box also?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 70 of 127 70




11:43:14   1     A.   No.

11:43:17   2     Q.   It was just -- it was an empty box?

11:43:18   3     A.   Uh-huh.

11:43:22   4     Q.   Before you filed the declaration on April 22, 2015, did you

11:43:27   5     verify that Sprint was offering equipment under the Nextel brand

11:43:28   6     for mobile radios?

11:43:31   7     A.   Yes.

11:43:34   8     Q.   What mobile radios were they selling at the time?

11:43:37   9     A.   Mobile radio functionality in this device.

11:43:41 10      Q.   So you're saying because this mobile telephone has a mobile

11:43:44 11      radio functionality, that that's --

11:43:47 12      A.   I mean, a mobile phone is a mobile radio.

11:43:52 13      Q.   What about a two-way radio?     Did you verify that Sprint sold

11:43:58 14      a two-way radio in connection with the Nextel 224 registration?

11:44:00 15      A.   Yes.

11:44:01 16      Q.   What is that?

11:44:03 17      A.   It's a device I showed.

11:44:07 18      Q.   So it's only this device, the Sonim XP Strike IS.

11:44:11 19      A.   No.    It's not only that device, but we have -- I verified

11:44:15 20      that.   I review and verify the description that we offer all the

11:44:18 21      goods and services there in the description that we keep our

11:44:22 22      marks for or I change it, and I didn't need to change it because

11:44:25 23      we offer those services and we have that equipment.

11:44:29 24      Q.   Did you -- did you identify any other equipment other than

11:44:32 25      the Sonim XP Strike IS?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 71 of 127 71




11:44:36   1     A.    I don't recall.       I would have to go back and look at my

11:44:36   2     file.

11:44:39   3     Q.    Did you attend -- did you verify that Sprint was selling

11:44:42   4     dispatch radios under the Nextel mark in 2015?

11:44:44   5     A.    Yes.

11:44:49   6     Q.    What dispatch radios was Sprint offering in 2015 under the

11:44:49   7     Nextel mark?

11:44:53   8     A.    I would have to go back to my file and verify what we were

11:44:57   9     doing.   We're probably this particular phone, and then we have,

11:45:00 10      you know, services that we offer associated with that.         The

11:45:03 11      descriptions still fit with the goods and services we were

11:45:04 12      offering.

11:45:07 13      Q.    Prior to your testimony today, in preparing for your

11:45:11 14      deposition today, did you verify that Sprint in fact was selling

11:45:15 15      a two-way radio under the Nextel mark in 2015?

11:45:18 16      A.    A mobile phone is a two-way radio.

11:45:20 17      Q.    I'm sorry.    A dispatch radio?

11:45:24 18      A.    I consider a mobile phone a dispatch radio.

11:45:29 19                   MR. KERNELL:    If we can continue on to Page 112, Line

11:45:31 20      16.

11:45:33 21      Q.    And what was the dispatch radio that you verified that

11:45:37 22      Nextel was being used on in 2015?

11:45:41 23      A.    I would have to go back and review my file.       I believe it's

11:45:44 24      the phone itself.      There may be other products offered.

11:45:48 25      Q.    So sitting here today, you don't know definitely what that


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                                     TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 72 of 127 72




11:45:49   1     product is?

11:45:52   2     A.   I believe the phone itself provides dispatch functionality.

11:45:55   3     It works as a dispatch radio.

11:45:58   4     Q.   Again, that's your belief, that's not known?

11:46:00   5     A.   Correct.

11:46:04   6     Q.   And you understand that there is a claim of fraud on the

11:46:08   7     patent office regarding the Nextel mark in this case.

11:46:10   8                  MR. RIOPELLE:    You misread that, Jim.

11:46:10   9                  MR. KERNELL:    I'm sorry?

11:46:16 10                   MR. RIOPELLE:    You said patent office.

11:46:26 11                   MR. KERNELL:    I'm sorry.   Starting again at Line 10.

11:46:30 12      Q.   You understand there is a claim of fraud on the trademark

11:46:31 13      office regarding the Nextel mark in this case?

11:46:32 14      A.   Yes.

11:46:34 15      Q.   And that fraud on the trademark office would have been

11:46:38 16      committed by Melissa Jobe if that's true, correct?

11:46:41 17      A.   I did not commit fraud.

11:46:44 18      Q.   If the allegations prove to be true, then that would be

11:46:46 19      directed against you, correct?

11:46:49 20      A.   I'm not going to answer that question.

11:46:53 21      Q.   Who else handled -- who signed the declaration for the

11:46:57 22      Nextel mark, the 1, 884,244 mark?

11:47:00 23      A.   I signed it and I did not commit fraud.

11:47:04 24      Q.   Okay.     But sitting here today, you can't tell me whether or

11:47:08 25      not Sprint sold a dispatch radio under the Nextel mark on April


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 73 of 127 73




11:47:12   1     22, 2015 when you signed that declaration.

11:47:16   2     A.     Yes.    We sold a dispatch radio using the marks.

11:47:22   3     Q.     What's the model of that dispatch radio?     You never told me

11:47:28   4     what model of dispatch radios that Sprint sold in 2015, have

11:47:31   5     you?    Go ahead and answer.

11:47:33   6     A.     The phone.

11:47:35   7     Q.     Do you know what a dispatch radio is?

11:47:38   8     A.     I need to review my file.    I'm certain that I reviewed this.

11:47:42   9     I do it for every single application.       I need to review my

11:47:44 10      personal legal file to answer your question.

11:47:50 11      Q.     In 2015, what pagers were Sprint selling under the Nextel

11:47:51 12      mark?

11:47:55 13      A.     The phone provides pager technology.     Pager service.    It's a

11:47:59 14      device that provides paging services that works as a pager.

11:48:02 15      Q.     Was it selling any other devices that were strictly pagers?

11:48:06 16      A.     We didn't sell a single functioning pager.

11:48:10 17      Q.     What mobile data transceivers was Sprint selling in 2015

11:48:12 18      under the Nextel mark?

11:48:17 19      A.     This device that was included in the statement of use.

11:48:21 20      Q.     So your testimony, if I understand it correctly, is that is

11:48:25 21      Sonim XP Strike IS is a mobile radio, a two-way radio, it's a

11:48:29 22      mobile telephone, and it's a dispatch radio, it's a pager and

11:48:31 23      it's a mobile data transceiver; is that correct?

11:48:33 24      A.     Yes.

11:48:36 25      Q.     So it's a mobile phone that has all those functions in it?


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                                      TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 74 of 127 74




11:48:38   1     A.   Yes.

11:48:40   2     Q.   Aren't all mobile phones two-way radios?

11:48:41   3     A.   Yes.

11:48:45   4     Q.   Then why did you list two-way radio separately?

11:48:48   5     A.   Yes, that would require me to give a legal opinion.         A legal

11:48:52   6     -- why I make that legal choice.

11:49:01   7     Q.   You're not going to answer the question as to why you listed

11:49:03   8     -- why all these devices are listed separately, listed namely

11:49:10   9     and that is a term of art in the trademark office, correct?

11:49:12 10      A.   What word?

11:49:18 11      Q.   When you say namely and then specific items or devices after

11:49:19 12      the word namely?

11:49:21 13      A.   Yes.

11:49:23 14      Q.   So those are different devices?

11:49:26 15      A.   No, they do not have to be different devices.

11:49:27 16      Q.   What do you mean by that?

11:49:30 17      A.   It needs to be a device that serves that purpose, and that's

11:49:34 18      what it helps identify what type of device.        Those are accurate

11:49:35 19      descriptions of the devices.

11:49:41 20      Q.   Do you know if Sprint has ever sold a device that is

11:49:44 21      strictly a mobile data transceiver?

11:49:45 22      A.   I don't know.

11:49:51 23      Q.   If I go to the Sprint website today and type in search for

11:49:54 24      pager, would I get any results on a pager?

11:49:56 25      A.   I have no idea.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 75 of 127 75




11:49:59   1     Q.   Before you filled your combination declaration for use for

11:50:06   2     the Nextel 224 trademarks, did you check and see if Sprint sold

11:50:07   3     pagers?

11:50:10   4     A.   Sprint has devices that have paging technology.

11:50:12   5     Q.   Did you search for pagers?

11:50:12   6     A.   No.

11:50:15   7     Q.   When was the last time you verified that Sprint uses the

11:50:19   8     Nextel trademark on each of the named devices in the trademark

11:50:21   9     on the trademark registration?

11:50:24 10      A.   Sitting here right now.

11:50:27 11      Q.   Do you have any of these other devices before you?

11:50:29 12      A.   I have knowledge of Sprint's -- the goods and services that

11:50:33 13      Sprint offers today, and I'm looking at the description and

11:50:36 14      asking myself if it's still valid, and it is.

11:50:44 15      Q.   Do you know if Sprint sells strictly two-way radios?         Not a

11:50:49 16      device with the function of a two-way radio, but strictly a

11:50:56 17      two-way radio?    I believe it's also referred to as a

11:50:58 18      walkie-talkie?

11:51:01 19      A.   We sell devices that can work as a two-way radio.

11:51:05 20      Q.   Do you sell any devices that can only work as a two-way

11:51:05 21      radio?

11:51:06 22      A.   No.

11:51:09 23      Q.   Do you sell any devices that can only work as a dispatch

11:51:10 24      radio?

11:51:13 25      A.   I don't know today.    I'd have to -- I would have to look.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 76 of 127 76




11:51:18   1     Q.   Now, my understanding of a dispatch radio is a desktop or

11:51:22   2     mounted radio with a handset or microphone with -- there's a key

11:51:26   3     on the side or a button on the side which would I presume work

11:51:29   4     with a push-to-talk application.      Is that an accurate

11:51:32   5     understanding of what a dispatch radio is?

11:51:36   6     A.   That's one kind of dispatch radio.

11:51:43   7     Q.   Does Sprint sell any of that type of dispatch radios?

11:51:45   8     A.   It might.    I don't know.

11:51:50   9     Q.   Does Sprint sell any device that is strictly a pager?

11:51:51 10      A.   No.

11:51:56 11      Q.   Does Sprint sell any device that is strictly a mobile data

11:51:57 12      transceiver?

11:51:57 13      A.   Yes.

11:52:00 14      Q.   What device is that that is strictly a mobile data

11:52:01 15      transceiver?

11:52:04 16      A.   How are you defining a mobile data transceiver?

11:52:06 17      Q.   All it does is send and receive data.

11:52:10 18      A.   Yes, we sell devices that only send and receive data.

11:52:11 19      Q.   What device is that?

11:52:15 20      A.   Any of our My Wi-Fi devices or, you know.

11:52:15 21      Q.   I'm sorry?

11:52:19 22      A.   Any of the Wi-Fi devices are data transceivers.

11:52:22 23      Q.   Do you sell any of those under the Nextel trademark?

11:52:26 24      A.   I would have to look, but we have that functionality on the

11:52:26 25      phones.


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 77 of 127 77




11:52:29   1     Q.   On the phones or on a separate device?

11:52:35   2     A.   My phone works as a -- I mean, all of our phones work as

11:52:37   3     mobile data transceivers.

11:52:42   4     Q.   But the question was do they work as only a mobile data

11:52:43   5     transceiver and nothing else?

11:52:46   6     A.   No, the phones don't, but we do have other devices that are

11:52:49   7     strictly just mobile data transceiver that we offer for sale.

11:52:51   8     Q.   Under the Nextel mark?

11:52:56   9     A.   No.    Not under the Nextel mark.

11:53:08 10                  MR. KERNELL:   If we could continue on Page 133, Line 2.

11:53:14 11      Q.   I'm sorry.     It was marked as Exhibit 134 yesterday.      You go

11:53:24 12      on to say that the use of the -- the use of the "I" followed by

11:53:29 13      a three -- the "I" followed by a three-digit number is the same

11:53:32 14      naming convention used by Sprint in connection with the genuine

11:53:34 15      Nextel products.     Do you see that?

11:53:35 16      A.   Yes.

11:53:39 17      Q.   As of 2018, did Sprint sell any products that used "I"

11:53:44 18      followed by a three-digit number in connection with genuine

11:53:45 19      Nextel products?

11:53:47 20      A.   In 2018, no.

11:53:54 21                  MR. KERNELL:   Continue on to Page 134, Line 25.

11:53:57 22      Q.   So what was your point in stating that the use of "I"

11:54:02 23      followed by the three -- a three-digit number is the same naming

11:54:05 24      convention used by Sprint in connection with genuine Nextel

11:54:06 25      products?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 78 of 127 78




11:54:09   1     A.   Trying to show that they're counterfeiting and trying to use

11:54:14   2     our goodwill and our history, trying to steal our complete

11:54:15   3     history to become their own.

11:54:19   4     Q.   At the time you signed your declaration on April 12, 2018,

11:54:25   5     was Nextel or Sprint selling a Nextel-branded i300 handheld

11:54:27   6     radio?

11:54:29   7     A.   In 2018, no.

11:54:33   8     Q.   In 2018?     That had an i300 on it?

11:54:34   9     A.   No.

11:54:38 10      Q.   There's no legal conclusion about that, that's a fact.

11:54:41 11      A.   I just answered your question.

11:54:47 12      Q.   Thank you.     Was Sprint selling a Nextel-branded i450 handset

11:54:48 13      radio in 2018?

11:54:50 14      A.   In 2018?     No.

11:54:55 15      Q.   Was Nextel selling an i650 handset radio Nextel-branded in

11:54:56 16      2018?

11:54:59 17      A.   No.

11:55:04 18      Q.   Was Sprint selling a Nextel-branded e300S rugged smartphone

11:55:05 19      in 2018?

11:55:07 20      A.   No.

11:55:15 21      Q.   Was Nextel selling an e300T rugged tablet branded as Nextel

11:55:16 22      in 2018?

11:55:17 23      A.   No.

11:55:23 24      Q.   Was Sprint selling a Nextel-branded m370 mobile radio in

11:55:24 25      2018?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 79 of 127 79




11:55:25   1     A.   No.

11:55:29   2     Q.   Was Sprint selling a Nextel-branded PC-based dispatch

11:55:32   3     console software in 2018?

11:55:35   4     A.   Yes.

11:55:41   5     Q.   What was that product?

11:55:45   6     A.   Sprint had PC-based dispatch console software.

11:55:47   7     Q.   Was it Nextel-branded?

11:55:48   8     A.   Yes.

11:55:50   9     Q.   And what is that product's name?

11:55:53 10      A.   I know that we offer -- that we have dispatch software and

11:55:56 11      we use the Nextel marks to sell that as part of a business

11:55:59 12      product, you know, package.      So we use the Nextel marks in

11:56:03 13      conjunction with PC-based dispatch software.

11:56:04 14      Q.   Console software?

11:56:05 15      A.   I presume, yes.

11:56:08 16      Q.   You're presuming.    Do you know that for a fact?

11:56:12 17      A.   No, I don't.    I'll take that.    I don't know if it's the

11:56:12 18      console.

11:56:16 19      Q.   Does Nextel have or does Sprint have a Nextel trademark for

11:56:21 20      PC-based dispatch console software, a registration?

11:56:25 21      A.   Yes.    We consider that part of telecommunication services.

11:56:27 22      Q.   So telecommunication services is software?

11:56:30 23      A.   It can be separate classes, but they're telecommunications

11:56:35 24      services associated with dispatch console software, which

11:56:37 25      includes telecommunication services.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 80 of 127 80




11:56:41   1     Q.   Is that named on the telecommunication services for the

11:56:42   2     registration for Nextel?

11:56:45   3     A.   It just says telecommunication services.

11:56:47   4     Q.   It doesn't say anything about software, does it?

11:56:51   5     A.   No.    Software is a separate class.

11:56:53   6     Q.   Right.     So it wouldn't fall under telecommunications?

11:56:55   7     A.   It might.

11:57:05   8     Q.   Since it's mainly software.     Well, you know the classes and

11:57:09   9     the classes that these products fall under, don't you?

11:57:10 10      A.   Yes.

11:57:15 11      Q.   As a normal duty at Sprint as a trademark attorney, you know

11:57:17 12      the classes of various devices?

11:57:17 13      A.   Yes.

11:57:20 14      Q.   And software and services fall under?

11:57:21 15      A.   Right.

11:57:21 16      Q.   Correct?

11:57:23 17      A.   Right.

11:57:25 18      Q.   And software falls under what class?

11:57:26 19      A.   Class 9

11:57:28 20      Q.   And telecommunication services?

11:57:30 21      A.   Class 38.

11:57:35 22      Q.   If we look at Paragraph 28 of your declaration, you state on

11:57:41 23      or about April 26, 2017 on behalf of Sprint, I sent a cease and

11:57:48 24      desist letter to the NW entity and its distributors; the C and D

11:57:50 25      letters, true and accurate copies of which are attached hereto


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 81 of 127 81




11:57:53   1     as Exhibit 17.       Do you see that?

11:57:55   2     A.     Yes.

11:57:58   3     Q.     Do you recall sending these cease and desist letters out to

11:58:00   4     the NW entity and its distributors?

11:58:01   5     A.     Yes.

11:58:05   6     Q.     Did you do this on your own or were you instructed to do so?

11:58:10   7     Did you make the decision to send these out, these cease and

11:58:14   8     desist letters, or were you instructed to send out the cease and

11:58:18   9     desist letters referenced in Paragraph 28 of your declaration,

11:58:19 10      Exhibit 136?

11:58:22 11      A.     I did the legal work associated with determining whether it

11:58:26 12      was -- whether a cease and desist fell within the bounds of the

11:58:29 13      law.    I made a recommendation to the marketing team and the

11:58:33 14      senior legal team.        Together we made the decision to move

11:58:37 15      forward with this and I sent the cease and desist letters.

11:58:42 16                     MR. KERNELL:   If we could continue on to Page 142, Line

11:58:44 17      8.

11:58:48 18      Q.     And what I marked as Exhibit 144 are the cease and desist

11:58:52 19      letters, and I believe this is -- it was intended to be all of

11:58:56 20      the ones that were in Exhibit 17 attached to your declaration

11:58:59 21      which is marked as Exhibit 136.         Okay?

11:59:01 22      A.     Okay.

11:59:04 23      Q.     So if I can, do you recognize Exhibit 144?

11:59:05 24      A.     Yes.

11:59:07 25      Q.     And these are the cease and desist letters that you were


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                                      TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 82 of 127 82




11:59:10   1     referring to earlier; is that correct?

11:59:14   2     A.   I don't think I referred to them, but these are the cease

11:59:17   3     and desist letters that I attached to my declaration.

11:59:19   4     Q.   If I can have you -- do you recognize the first one?

11:59:21   5     A.   Yes.

11:59:23   6     Q.   This is to Mr. Calabrese, correct?

11:59:24   7     A.   Yes.

11:59:27   8     Q.   And Mr. Calabrese is one of the Defendants in this case?

11:59:28   9     A.   Yes.

11:59:33 10      Q.   And DBA Nextel, Inc, Nextel, Inc. is another Defendant in

11:59:34 11      this case, correct?

11:59:35 12      A.   Yes.

11:59:39 13      Q.   So on -- do you know what triggered you to send the cease

11:59:42 14      and desist letter on April 26, 2017?

11:59:43 15      A.   Yes.

11:59:46 16      Q.   What was that?

11:59:52 17      A.   We discovered the website nextelworldwide.com and determined

11:59:54 18      that it was not authorized by us.

11:59:58 19      Q.   And how did you discover the website nextelworldwide.com?

12:00:01 20      A.   I believe after a trade show, some of our employees came

12:00:05 21      back and asked us about this, and that's when we discovered the

12:00:08 22      website doing the investigation into that matter.

12:00:13 23      Q.   Would that have been a report from Mr. Mancuso?

12:00:15 24      A.   I believe so, yes.

12:00:16 25      Q.   Or Mr. Shaughnessy?


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 83 of 127 83




12:00:19   1     A.   Mr. Shaughnessy was the first one, yes.

12:00:26   2                 MR. KERNELL:   If we could continue on to Page 147, Line

12:00:28   3     1.

12:00:34   4     Q.   If I could refer you to the letter to Mr. Calabrese on the

12:00:38   5     first page of Exhibit 144, this is in the second full paragraph.

12:00:43   6     About halfway down you state these words:        These marks present

12:00:49   7     all others -- prevent, present all others from using these names

12:00:54   8     in any design, including design marks we abandoned long ago in

12:00:57   9     the telecommunications equipment and services market without our

12:00:59 10      permission.    Do you see that?

12:01:00 11      A.   Yes.

12:01:04 12      Q.   So we talked about one of the marks, the design, it was a

12:01:09 13      design mark that Nextel in black bold letters, the X and T run

12:01:13 14      together with the yellow black, background, and a black line to

12:01:16 15      the right.    Is that one of the design marks that you had

12:01:17 16      previously abandoned?

12:01:19 17      A.   Yes.

12:01:24 18      Q.   So I believe earlier you testified that you'd never admit

12:01:27 19      that you abandoned the mark, yet in this letter you admitted

12:01:30 20      that Sprint does abandon marks.

12:01:33 21      A.   I didn't say Sprint doesn't abandon marks, we never

12:01:36 22      abandoned the Nextel mark.

12:01:40 23      Q.   But have you abandoned some of the Nextel design marks?

12:01:41 24      A.   Yes.

12:01:46 25      Q.   And in this sentence you state unequivocally these word


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 84 of 127 84




12:01:50   1     marks prevent all others from using those names in any design,

12:01:54   2     including design marks we abandoned long ago in the

12:01:56   3     telecommunications equipment and services market without our

12:01:57   4     permission.    Do you see that?

12:01:59   5     A.   Yes.

12:02:04   6     Q.   In the last sentence you state -- this is the last sentence

12:02:10   7     on the first page of Exhibit 144, you state accordingly, your

12:02:14   8     company's use of any of these marks without permission infringes

12:02:20   9     on our valuable trademark rights, dilutes the strength and value

12:02:25 10      of the marks, and unfairly trades on our valuable goodwill in

12:02:28 11      violation of federal state statutory and common laws.         Do you

12:02:28 12      see that?

12:02:29 13      A.   Yes.

12:02:31 14      Q.   What did you mean by valuable goodwill?

12:02:35 15      A.   Valuable goodwill is the value of the marks that accrues

12:02:37 16      over time from use in commerce.

12:02:40 17      Q.   And you're aware that Sprint wrote off all the goodwill of

12:02:43 18      Nextel in February of 2008, aren't you?

12:02:47 19      A.   They wrote off the goodwill of the merger with Nextel and

12:02:50 20      Sprint, but not the goodwill of the trademarks.         It doesn't say

12:02:53 21      we're writing off the goodwill of the Nextel trademarks that we

12:02:55 22      continue to use and maintain.

12:02:57 23      Q.   Apart from the trademarks of the brands, what other goodwill

12:02:58 24      is there?

12:03:01 25      A.   There's a long history of excellent service, and it's a


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 85 of 127 85




12:03:05   1     famous mark.       It's a well-known mark that we own and continue to

12:03:06   2     use.

12:03:10   3                    MR. KERNELL:   If I can continue on to Page 152, Line

12:03:11   4     17.

12:03:14   5     Q.     Did you value the Nextel mark?

12:03:16   6     A.     Yes.

12:03:18   7     Q.     Did you assign a value to the Nextel mark?

12:03:19   8     A.     No.

12:03:21   9     Q.     What was your valuation of the Nextel mark?

12:03:25 10      A.     That there was value in excess of $10 million.

12:03:41 11                     MR. KERNELL:   If I could continue on to Page 160.     Line

12:03:43 12      23.

12:03:50 13      Q.     There's not a single device that Sprint sells that has the

12:03:53 14      Nextel -- that has Nextel on the device, correct?

12:03:55 15      A.     No, that's not correct.

12:03:59 16      Q.     What device does Sprint sell that has Nextel physically on

12:04:00 17      the device?

12:04:05 18      A.     There isn't a device that has it physically on the device.

12:04:07 19      Q.     Okay.     So that was my question.

12:04:10 20      A.     You didn't say physically.      You said on the device, and it's

12:04:14 21      possible that the Nextel mark will pop up on somebody's screen.

12:04:16 22      So that's technically on the device.

12:04:19 23      Q.     What do you mean possibly?      Are you aware of any devices

12:04:23 24      that Sprint sells where the Nextel logo pops up on the screen?

12:04:26 25      A.     No, but it's possible, you know.      I can't identify, but I


                               PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                      TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 86 of 127 86




12:04:28   1     think it's possible.

12:04:31   2     Q.   Okay.    The push-to-talk services that you referred to

12:04:35   3     earlier, that is with respect to the direct connect service

12:04:37   4     offered by Sprint; isn't that true?

12:04:38   5     A.   That's correct.

12:04:44   6     Q.   That's not a Nextel direct connect service.        Is it a Sprint

12:04:48   7     Direct Connect service?     It is a Sprint Direct Connect service,

12:04:49   8     correct?

12:04:53   9     A.   We have customers that are built for direct connect even

12:04:55 10      though it runs on our Kodiak platform.

12:04:58 11      Q.   But those aren't new customers, are they?

12:05:00 12      A.   They have been long-standing customers, but they have moved

12:05:04 13      their device and the functionality to the Sprint platform, but

12:05:09 14      they're still being billed under Nextel Direct Connect plans.

12:05:12 15      Q.   But are they actually using the Sprint service?

12:05:14 16      A.   They're using the Kodiak technology.

12:05:18 17      Q.   Which is on the Sprint network under the Sprint service?

12:05:21 18      A.   It is.    I mean, we offer a lot of different brands under the

12:05:25 19      network.     We offer Sprint network, we offer Boost network, we

12:05:28 20      offer Assurance network, we have -- it's all the same network.

12:05:32 21      It can have whatever brand folks want to put on it, it just

12:05:35 22      depends on how it's offered for sale.       The network itself is not

12:05:38 23      a physical thing that we are selling that is branded as a

12:05:41 24      network.     It's the offering, the telecommunication offering, nd

12:05:46 25      those telecommunications are offered on a variety of brands but


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 87 of 127 87




12:05:48   1     use the same physical network.

12:05:50   2     Q.   And it's the Sprint network?

12:05:53   3     A.   It is most commonly referred to as the Sprint network, ut it

12:05:57   4     is also the Boost network and the Assurance network and all of

12:05:59   5     our MVNO networks.

12:06:03   6     Q.   And for instance, Boost, that is a brand of Sprint?

12:06:03   7     A.   Yes.

12:06:08   8     Q.   That's a brand of Sprint that it advertises, correct?

12:06:13   9     There's Boost towers out there?

12:06:14 10      A.   Yes.

12:06:20 11      Q.   And Sprint's website, it identifies Boost as one of Sprint's

12:06:20 12      brands, correct?

12:06:21 13      A.   Yes.

12:06:25 14      Q.   As well as I think Virgin Mobile, Sprint identifies that as

12:06:26 15      a Sprint on its website?

12:06:27 16      A.   Yes.

12:06:30 17      Q.   But Sprint doesn't identify Nextel as a brand on its

12:06:31 18      website, does it?

12:06:33 19      A.   It advertises it as a former brand.

12:06:38 20      Q.   A former brand.    Okay.   Do you know when or --

12:06:40 21      A.   A brand is not a trademark, by the way.

12:06:45 22      Q.   Over the years, Sprint has stopped identified Nextel as even

12:06:48 23      one of its trademarks, hasn't it?

12:06:51 24      A.   No, it has not.    We continue to identify it and use it as a

12:06:52 25      trademark.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 88 of 127 88




12:06:55   1     Q.   Is it identified in the SEC filings?

12:07:04   2     A.   There are --

12:07:08   3                  MR. KERNELL:     And if I can continue on to page.

12:07:13   4                  THE COURT:     Was that a question with no answer?   If it

12:07:17   5     was, then the jury will disregard it.        Questions are not

12:07:21   6     evidence.     Answers are.

12:07:28   7                  MR. KERNELL:     If I can continue on to Page 190.   Line

12:07:30   8     7.

12:07:34   9     Q.   So when you were talking earlier today and you were -- I

12:07:36 10      believe you testified earlier today that you weren't sure

12:07:41 11      whether or not Sprint had current sales of the Sonim XP Strike

12:07:46 12      IS, what did you mean by current?        What time period were you

12:07:48 13      referring to?

12:07:49 14      A.   2019.

12:07:54 15      Q.   Are there sales numbers for Sprint's devices in 2019

12:07:55 16      available at this time?

12:07:56 17      A.   No.

12:08:00 18      Q.   Are you aware of whether Sprint had sales of the Sonim XP

12:08:05 19      Strike IS from 2013 every year from 2013 to 2018?

12:08:06 20      A.   Yes.

12:08:12 21      Q.   And have you had sales of Sonim Strike IS every year from

12:08:13 22      2013 to 2018?

12:08:15 23      A.   Yes.

12:08:19 24      Q.   Are you aware when Sprint placed its last order of Sonim

12:08:24 25      with Sonim, for a shipment of Sonim XP Strike IS devices?


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 89 of 127 89




12:08:26   1     A.   Yes.

12:08:28   2     Q.   Approximately when was the last order made?

12:08:31   3     A.   In August of 2018.

12:08:36   4                 MR. KERNELL:     And that concludes the deposition of or

12:08:39   5     transcript of Melissa Jobe.

12:08:42   6                 THE COURT:     All right sir.   Next?

12:08:48   7                 MR. SCHWARTZ:     It's 12:00, Your Honor.   Would you like

12:08:49   8     to pause here or proceed?

12:08:51   9                 THE COURT:     I have a sentencing and I've set it for

12:08:57 10      1:15, so I thought we'd go a little late this morning.            I can do

12:08:59 11      my sentencing at 1:15.

12:09:00 12                  MR. SCHWARTZ:     The Defendants call Jeffrey Kaplan.

12:09:07 13      Wait, wait.     There was a matter raised in the pretrial

12:09:07 14      proceedings.

12:09:10 15                  THE COURT:     I have no idea what you're talking about.

12:09:11 16                  MR. SCHWARTZ:     I don't know if you wanted to do a

12:09:11 17      sidebar.

12:09:15 18                  THE COURT:     I don't know why you would want to, but --

12:09:16 19                  MR. SCHWARTZ:     Well, you instructed the parties to

12:09:18 20      discuss the issue before the witness took the stand.

12:09:21 21                  THE COURT:     All right.   How about you all go into the

12:09:24 22      jury room.     We may call you back out in a couple minutes, we may

12:09:28 23      call you back in three and a half days.         I have no idea.

12:09:29 24                  COURT SECURITY OFFICER:      All rise for the jury.

12:09:33 25                  (Jury out at 12:09 p.m.)


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 90 of 127 90




12:10:09   1                 THE COURT:   All right.   What are we talking about?      We

12:10:12   2     talked about so many things that it's hard for me to keep it

12:10:15   3     straight.

12:10:17   4                 MR. SCHWARTZ:   Simply put, Your Honor, in the motion in

12:10:22   5     limine, it's in your order, subsection C, Page 11, the issue

12:10:26   6     about conclusions of law on the issue of abandonment.

12:10:28   7                 THE COURT:   Yeah.   I don't want this gentleman up there

12:10:33   8     telling the jury that it's been abandoned, when in fact there's

12:10:36   9     a definition of abandonment that we're going to give them in the

12:10:37 10      instructions.

12:10:38 11                  MR. SCHWARTZ:   Correct, Your Honor.    You just simply

12:10:44 12      instructed us to address the issue.       I'm going to do my best to

12:10:49 13      avoid -- and I've spoken to the witness, to avoid running afoul

12:10:53 14      of this issue, and any issue will be simply as him as a

12:10:55 15      layperson on that issue.

12:10:59 16                  THE COURT:   Well, I don't think he's as a layperson.

12:11:04 17      Well, I don't know.      Let me hear the opposite -- the opposing

12:11:07 18      side if they have a position that's different.        What is your

12:11:10 19      position on it?

12:11:13 20                  MR. RIOPELLE:   Our position is as the Court ruled.       He

12:11:18 21      can't testify.    It says accordingly, Plaintiff's motion is

12:11:20 22      granted in part as to lay witness's testimony regarding what

12:11:22 23      legally constitutes abandonment.

12:11:23 24                  MR. SCHWARTZ:   He's not going to address that, Your

12:11:24 25      Honor.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 91 of 127 91




12:11:25   1                 THE COURT:   Okay.   But you just said as a layperson

12:11:28   2     he's going to try to do it.       He can't do it as -- a layperson

12:11:31   3     cannot have -- well, he can have an opinion, but I'm not

12:11:34   4     permitting him to tell it to the jury.

12:11:36   5                 MR. SCHWARTZ:    Right.   He's not going to make any

12:11:38   6     statements about legal conclusions on abandonment.

12:11:43   7                 THE COURT:   And if he tries to dance around it, I will

12:11:49   8     probably step on his toes while he's dancing.          Understood?

12:11:50   9                 MR. SCHWARTZ:    Understood.

12:11:52 10                  THE COURT:   Okay.   In front of the jury if I have to.

12:11:57 11      All right.    Bring the jury back in.      I hope they're all in the

12:11:59 12      bathroom.

12:12:02 13                  COURT SECURITY OFFICER:     All rise for the jury.

12:12:07 14                  THE COURT:   I have a feeling it's going to be a while

12:12:10 15      getting them back in.       How long do you think you're going to be?

12:12:13 16                  MR. SCHWARTZ:    I'm going to try to breeze through this

12:12:14 17      in --

12:12:16 18                  THE COURT:   17 and half minutes.

12:12:18 19                  MR. SCHWARTZ:    Maybe double that, but less.     Somewhere

12:12:20 20      in there.    I'm trying to streamline.

12:12:22 21                  THE COURT:   All right.

12:12:26 22                  MR. SCHWARTZ:    Just for the Court's -- after Mr.

12:12:28 23      Kaplan, we just have one final witness.

12:12:32 24                  THE COURT:   Okay.   We'll deal with it.

12:12:39 25                  (Jury in at 12:12 p.m.)


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 92 of 127 92




12:13:09   1                COURT SECURITY OFFICER:      Two in the bathroom, Your

12:13:10   2     Honor.

12:13:12   3                THE COURT:     Good.   You all can be seated then.     We'll

12:14:16   4     Wait.    He didn't take the Sears Roebuck catalogue in there with

12:14:18   5     him, did he?

12:14:20   6                COURT SECURITY OFFICER:      Not that I know of, Your

12:14:21   7     Honor.

12:14:23   8                THE COURT:     I don't think they even make catalogues

12:14:26   9     anymore.    Everything is online.

12:14:52 10                 All right sir.     Please call your next witness.

12:14:54 11                 MR. SCHWARTZ:     Yes, Your Honor, the defense calls

12:14:54 12      Jeffrey Kaplan.

12:14:58 13                 THE COURT:     Mr. Kaplan, please come forward.      Since

12:15:03 14      it's been a couple days, when you reach the chair, please remain

12:15:05 15      standing and raise your right hand.

12:15:05 16                  JEFFREY KAPLAN, DEFENSE WITNESS, SWORN.

12:15:14 17                 THE COURT:     Please be seated.   Although we know who you

12:15:18 18      are, tell us who you are and spell your last name please.

12:15:21 19                 THE WITNESS:     Jeffrey Kaplan, K-A-P-L-A-N.

12:15:22 20                 THE COURT:     You may proceed, sir.

12:15:22 21                              DIRECT EXAMINATION

12:15:22 22           BY MR. SCHWARTZ:

12:15:24 23      Q.   Thank you.   Mr. Kaplan, where do you reside?

12:15:26 24      A.   I live in Pompano Beach.

12:15:28 25      Q.   How long have you lived there?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 93 of 127 93




12:15:29   1     A.   About 12 years.

12:15:32   2     Q.   And before that where?

12:15:37   3     A.   Before that, I lived in Plantation.

12:15:40   4     Q.   And how old are you?

12:15:42   5     A.   I'm 63.

12:15:43   6     Q.   And are you married?

12:15:45   7     A.   Single.

12:15:46   8     Q.   Do you have any children?

12:15:47   9     A.   No, sir.

12:15:50 10      Q.   And did you attend high school down here in Florida?

12:15:51 11      A.   Cooper City.

12:15:53 12      Q.   And then after high school did you?

12:15:56 13      A.   Couple of years of BCC.

12:15:58 14      Q.   Did you get your degree from BCC?

12:16:00 15      A.   No.

12:16:04 16      Q.   Would you describe to the jury just the jobs you've had

12:16:06 17      since leaving Broward community?

12:16:11 18      A.   Okay.     Around 1979, the video industry started with video

12:16:15 19      rental stores.     I opened one of the first video stores in

12:16:19 20      Broward County, and was in that business for about ten years.

12:16:22 21      And eventually had about five stores.

12:16:31 22                   After 1979, again about ten years, 1989, another new

12:16:34 23      industry was starting which was one-hour photo labs where you

12:16:38 24      bring in your film, you get it developed.        So in Hollywood, I

12:16:42 25      opened the first store where you can bring in your film and get


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 94 of 127 94




12:16:46   1     it developed in one hour, and that also became a huge industry

12:16:48   2     where the machines were put into Walgreens and so forth.          And I

12:16:51   3     did that for about nine years.

12:16:57   4                 In 1998, I changed course and got my license as a

12:17:01   5     public insurance adjuster whereby I would represent homeowners

12:17:06   6     in fire claims, hurricane claims, and I would battle against the

12:17:10   7     insurance companies to get funds for the people.         I did that

12:17:17   8     until about 2005 and at that time, I developed a beverage

12:17:22   9     company.     I made a drink called Mavi or Mavi in the Caribbean

12:17:27 10      which is a fermented type of beverage, and I bottled it and sold

12:17:32 11      it to Goya for distribution.      I also made a beverage called

12:17:37 12      Mr. Q. Cumber, which is a sparkling sort of a Perrier with

12:17:43 13      cucumber, rapino fresco, and to this day, well, I'm still

12:17:49 14      selling that product to Sedano's and Whole Foods, Fresh Market.

12:17:52 15      So that business is still running.

12:17:59 16                  In 2012, is when I founded RetroBrands USA.

12:18:01 17      Q.   Have you invented in products?

12:18:05 18      A.   Yes, over the decades I invented about three different

12:18:10 19      products.     One product was when men shave, they tend to cut

12:18:15 20      themselves and it burns when you use a styptic pencil.         So I

12:18:19 21      said, I have to make something where it doesn't burn, so I

12:18:21 22      formulated a styptic pencil that doesn't burn.

12:18:24 23      And that's when I first started getting into trademarks.          I

12:18:28 24      registered, I think it was face protect or something, through

12:18:29 25      the USPTO.


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                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 95 of 127 95




12:18:35   1               I also invented an herbicide which killed an invasive

12:18:41   2     species that goes on the trees called ball moss or Spanish moss.

12:18:44   3     They would kill the trees, so I invented a herbicide and

12:18:46   4     trademark epizyme.

12:18:49   5               The third patent was I was discovering that a lot of

12:18:53   6     old paper had yellowing, or foxing it's called, for valuable

12:18:57   7     documents.   So I invented a formula where the foxing could be

12:19:01   8     removed without damaging the paper.

12:19:05   9     Q.   Thank you.   Are you the sole owner of RetroBrands USA?

12:19:06 10      A.   Yes, sir.

12:19:09 11      Q.   And why did you start RetroBrands?

12:19:14 12      A.   In 2012, I was reading in the Miami Herald and I saw an

12:19:18 13      article that got my attention.      The article was headed -- was

12:19:23 14      called White Cloud, which was a toilet paper brand, haunts

12:19:26 15      Proctor and Gamble.     So I remember, in the '80s there was

12:19:31 16      Charmin and White Cloud.     Then White Cloud kind of disappeared,

12:19:37 17      and this article stated that the White Cloud trademark was

12:19:41 18      re-launched by a company in Boca and it was licensed to Walmart.

12:19:47 19      And by 2012, it was doing about 600 million a year as a private

12:19:53 20      brand with Walmart.     So that's a great business model, find

12:19:57 21      brands that I grew up and maybe re-launch them.         So I started

12:20:01 22      doing research and started seeing a lot of brands in the '60s

12:20:06 23      and; 70s that were off the market.

12:20:09 24      Q.   Are trademarks important to businesses with regard to their

12:20:10 25      products or their brand?


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 96 of 127 96




12:20:13   1     A.   Yes.    You know, we all know the major, the major trademarks.

12:20:17   2     When someone says Mickey Mouse, you know who it belongs to and

12:20:21   3     so forth.    The industry has changed though over the years for

12:20:27   4     many decades.     When you set up a character, you knew who it

12:20:31   5     belonged to.    But nowadays with major mergers and so forth, if

12:20:35   6     you ask someone -- you tell someone the name of a brand,

12:20:38   7     sometimes they don't know who it belongs to because there's so

12:20:41   8     many different companies buying each other.        But they are

12:20:42   9     important to every company.

12:20:47 10      Q.   And what brands or products has RetroBrands sought to revive

12:20:47 11      over the years?

12:20:51 12      A.   Again, as I mentioned, I tried to find brands that were

12:20:56 13      called baby boomer brands for people my age.        Anyone under 50

12:21:01 14      won't remember these brands.      Brands like Di-Gel, which was an

12:21:06 15      antacid.    The commercial was, they had a sample stomach and they

12:21:10 16      would shake it up and then put the Di-Gel in there.         It was

12:21:13 17      number two after Tums, so these brands are tremendous revenue,

12:21:17 18      and they were very hot.

12:21:22 19                  I re-launched a brand called Chipwich, which was a New

12:21:24 20      York ice cream, which was once owned by Nestle.         And it was

12:21:30 21      discontinued, taken off the market, and I re-launched that.

12:21:35 22      That brand is doing about 25 million a year in all -- it's in

12:21:36 23      all the Wawa's.     It's all over America.

12:21:40 24                  I re-launched a brand called Saniflush which was

12:21:44 25      launched in 1922, a toilet bowel cleaner.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 97 of 127 97




12:21:49   1                  I re-launched a brand called Modess which was a

12:21:54   2     feminine hygiene brand owned by Proctor and Gamble, and it was

12:22:00   3     number two after Kotex.     And many, many, many more brands.

12:22:06   4     Q.   Please explain to the jury what you do as part of your,

12:22:11   5     let's say, investigation of one of these nostalgic brands.

12:22:14   6     A.   Sure.     The first one is with today's technology, everything

12:22:18   7     is on the internet.     Thank goodness.    In the old days you had to

12:22:22   8     go through magazines and so forth, but the first thing is go to

12:22:25   9     Google and type in the name.      And as you know, everything comes

12:22:29 10      up, all the different links and so forth, which allows you to

12:22:34 11      click on the link, see articles, see blogs and everything about

12:22:39 12      that brand the everything is on the internet.        So I would read

12:22:43 13      all the history, all the press releases, everything is there.

12:22:47 14                   Of course I would go to the US Patent and Trademark

12:22:51 15      Office and look at the history of the filing of the brand, who

12:22:55 16      owns it.     And every brand has maintenance requirements and so

12:23:00 17      forth.     So I would look at each brand and see the history.       Also

12:23:05 18      at the USPTO when a brand is -- a trademark is sold, there's an

12:23:10 19      assignment section where you can see who now has that, who now

12:23:12 20      owns the brand.     So everything is public records so it's really

12:23:18 21      easy to do, you know, do due diligence.       If it's in the market,

12:23:23 22      it's on the internet.     You can find it.    Anywhere in the world.

12:23:28 23      Q.   Prior to considering Nextel, has RetroBrands ever pursued a

12:23:32 24      brand with a trademark that was still registered to its owner?

12:23:36 25      A.   Oh, yes.     Many, many brands that I know are off the market.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 98 of 127 98




12:23:39   1     Through all the research, once I get to the trademark office,

12:23:43   2     it's still listed as active.      And I'm thinking, why is it active

12:23:47   3     if I can't find it.     Through these ten years I've been doing

12:23:53   4     this, these big conglomerates sort of park the trademark there.

12:23:56   5     They don't pay attention to it, the government doesn't pay

12:24:01   6     attention, and it's sitting there parked.        The time that it gets

12:24:04   7     affected is when it has to be renewed.       Every ten years you have

12:24:08   8     to renew the brand and tell the government you're still selling

12:24:13   9     the product and show them a specimen of that product.

12:24:14 10      Q.   What do you mean by a specimen?

12:24:20 11      A.   A specimen would be the actual mark on the item or the

12:24:25 12      packaging in a prominent manner that you can see it.         And

12:24:31 13      there's a declaration which tells, you know, under oath you have

12:24:34 14      to state that this product is in the market.        And there's an

12:24:37 15      image.   The person who is filing this has to take a picture, and

12:24:41 16      nowadays it could be a website, you know with all the

12:24:45 17      e-commerce.     So the laws have changed over the years.

12:24:48 18      Q.   What types of proceedings has RetroBrands been involved in

12:24:50 19      with the trademark office?

12:24:53 20      A.   Well, there's two sections to the trademark office.           There's

12:24:57 21      the initial filing which is very simple.        I think on Monday I

12:25:02 22      explained you can file an application by yourself or your

12:25:05 23      company, and what's great about the USPTO is you don't need an

12:25:10 24      attorney.     You can do everything individually.     So that's the

12:25:11 25      filing part of the process.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 99 of 127 99




12:25:14   1                 There's another section called the Trademark Trial and

12:25:18   2     Appeal Board, the TTAB.       And that's where --

12:25:19   3                 MR. RIOPELLE:     Your Honor, I mean, I think we're

12:25:25   4     veering into administrative and procedural and legal things that

12:25:29   5     he's not supposed to be testifying about.

12:25:30   6                 MR. SCHWARTZ:     The scope was very narrow, and I'm

12:25:32   7     trying to stay away from the issues that the Court mentioned

12:25:38   8     earlier.     He's just describing the two manners in which you can

12:25:40   9     proceed to get a trademark.

12:25:45 10                  THE COURT:     And his basis for that is?

12:25:49 11                  MR. SCHWARTZ:     His own personal knowledge and

12:25:50 12      expertise.

12:25:52 13                  THE COURT:     I'll permit him to answer the question that

12:25:54 14      was asked, but please --

12:25:56 15                  THE WITNESS:     Yes, sir.   What was the question again

12:25:57 16      please?

12:25:57 17           BY MR. SCHWARTZ:

12:25:59 18      Q.   Well, I was asking you what types of applications has

12:26:02 19      RetroBrands used with regard to --

12:26:06 20      A.   Well, just under applications, the brands, the name of the

12:26:08 21      trademarks applications that I've done?

12:26:09 22      Q.   Yes.

12:26:13 23      A.   Again, there's been at least 30, 40 over the years.          Every

12:26:17 24      time I file a trademark like Di-Gel, Modess, there's an

12:26:18 25      application that you have to file.


                             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                    TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 100 of 100
                                          127




12:26:20   1    Q.   Is there also an application called intent to use?

12:26:23   2    A.   Yes, there's two versions of your application.        The first

12:26:28   3    version is if you're actually making and selling the product or

12:26:32   4    licensing the product.     When you file the application, you check

12:26:35   5    off 1 A, which means you're telling the government you're

12:26:40   6    selling it and you put a specimen of the item.         The other one's

12:26:47   7    called intent to use where you would put 1 B, and you're telling

12:26:52   8    the government basically that you have a bonafide intent to use

12:26:56   9    the mark in the goods and services that you want to have it.

12:27:02 10     They give you approximately about 30 months to get the product

12:27:05 11     to the market.    There's extensions.     Every six months you have

12:27:09 12     to file an extension, and you're given 30 months to get the

12:27:12 13     product to the market.

12:27:14 14     Q.   Does RetroBrands, once it has acquired a trademark, always

12:27:16 15     manufacture a product?

12:27:20 16     A.   It all depends on how difficult it is.       If it's a

12:27:25 17     complicated product, then I might seek a licensee.         Also it

12:27:28 18     depends on the marketing.      You know, it's very difficult to get

12:27:32 19     a product on the shelf.     There's things called slotting fees.

12:27:37 20     You pay tens of thousands.      But if I assigned under -- license

12:27:41 21     the brand to a company that already had the infrastructure and

12:27:45 22     the connections in the industry, they can just add it to their

12:27:48 23     portfolio, and they know the buyers, they get it right on the

12:27:50 24     market.   It's a much easier way.

12:27:54 25     Q.   And what's the financial relationship between a licensee and


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 101 of 101
                                          127




12:27:55   1    a licensor?

12:27:58   2    A.   Well normally, you know, I'm eager to have a licensee

12:28:01   3    because I know it costs them a lot of money to get to this

12:28:05   4    market.     So when I make my license agreement, it depends on what

12:28:09   5    the retail price is.     For example, the product called Modess

12:28:14   6    that I mentioned, that sold in Dollar Tree, Dollar General, it's

12:28:18   7    a dollar.     Well a $1.25 now, it went up.     So something like

12:28:22   8    that.     I would do 2% because I know it costs him about $.60 to

12:28:26   9    make it, he's got to send it to Dollar Tree, they're making

12:28:31 10     money, so I get $.02 on every item for that price point.

12:28:37 11     Q.   And how did you first come to learn about the Nextel brand.

12:28:40 12     A.   In early January, beginning of January, I received a call

12:28:45 13     from a Mr. Stephen Calabrese who invited me to his store in

12:28:49 14     Davie.     He wanted to talk to me about something.      So I went down

12:28:53 15     there and met him and Mr. Rivera.       They showed me around the

12:28:58 16     office and the store.     And it was Reliable Two-Way.      And while

12:29:02 17     walking around, I saw, you know, Nextel boxed products, and they

12:29:07 18     basically explained their history in the industry, their

12:29:11 19     expertise in the industry, and they had said that do you

12:29:14 20     remember Nextel?     And I said I remember it, but I know it was

12:29:17 21     for businesses with a walkie-talkie.       So most of them --

12:29:21 22     basically they stated that the brand's been discontinued, they

12:29:26 23     can't find it anywhere and they launched it in 2017 at a trade

12:29:30 24     show.     And right after that, they started receiving cease and

12:29:34 25     desist letters and threatening letters, and their dealers were


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 102 of 102
                                          127




12:29:39   1    receiving letters and they were losing a lot of clients.

12:29:45   2               So at that point, you know -- and again, Mr. Stephen

12:29:49   3    Calabrese knew that I brought back discontinued brands, so it

12:29:53   4    was kind of a perfect fit that he found me.        And he was so happy

12:29:56   5    that here's a person who knows about bringing back brands and

12:30:00   6    that's what he's trying to do.      But from my looking at the

12:30:02   7    business, I could see it was a start-up.        There were two

12:30:07   8    gentleman, sort of like Apple with the garage, it was the

12:30:10   9    beginning of something.     So I told them let me -- you know, I

12:30:13 10     said this is Sprint, this is not a little company that you might

12:30:17 11     be fighting against.     Let me investigate it and let me do due

12:30:21 12     diligence.     I want to make sure this brand is not on the market,

12:30:25 13     I'm not going to be fighting Sprint if I'm 120% sure it's not

12:30:29 14     available anywhere.     So then I left.

12:30:33 15     Q.   This meeting was the very beginning of 2018?        I wasn't sure

12:30:33 16     --

12:30:37 17     A.   Yeah, 2018.    I'm not sure what year I used.

12:30:39 18     Q.   And did you understand that Two-Way Radio was a business

12:30:40 19     owned by Mr. Rivera?

12:30:45 20     A.   I didn't really get into that, but I noticed the sign was

12:30:52 21     Two-Way -- Reliable Two-Way, but I wasn't sure of their exact

12:30:55 22     business relationship.     They didn't -- it was a 20-minute

12:30:57 23     meeting.     I didn't get into that at that point.

12:31:00 24     Q.   And what did you do with regard to investigating Nextel?

12:31:03 25     A.   Well, the first thing I did when I left there, I went to a


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 103 of 103
                                          127




12:31:06   1    couple of Sprint stores.      You know, one was in Davie, I think

12:31:10   2    one was in Plantation.      And I walked in and I asked someone can

12:31:15   3    I get a Nextel?    You know, walkie-talkie?      And nobody knew what

12:31:19   4    it was.    They were young people.     I didn't expect them -- unless

12:31:23   5    it was there, they wouldn't really know about it.         So that was

12:31:26   6    my first, you know, inclination of my investigation.

12:31:28   7    Q.   And then what do you do next?

12:31:32   8    A.   The next few days I did what I did with all my other brands.

12:31:37   9    I went to Google, I typed in Nextel and as usual, all the

12:31:41 10     different links came up.      There were a few links that said

12:31:45 11     Nextel Direct Connect and shop.       Everything I clicked on either

12:31:51 12     were dead or went to a dead site or it went to an archival site

12:31:55 13     on the internet.     There's a lot of archival stuff that's stored

12:32:00 14     there.    I just couldn't find it.     There were also other links to

12:32:05 15     Wikipedia, there were tons of articles about the history of

12:32:10 16     Nextel, articles about the discontinued of the brand with no

12:32:13 17     intent to bringing it back.      There were so many articles, and I

12:32:18 18     was getting really like wow, this is everywhere.         And there were

12:32:21 19     articles from the New York Times --

12:32:23 20                MR. RIOPELLE:     Objection, Your Honor.

12:32:25 21                THE COURT:     Yeah, don't tell us what the articles said.

12:32:26 22     That's hearsay.

12:32:29 23                THE WITNESS:     So there were many, many articles.     And

12:32:34 24     again, articles from reputable places that all stated the same

12:32:36 25     thing over and over, that it's --


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 104 of 104
                                          127




12:32:38   1                MR. RIOPELLE:     Objection, Your Honor.     He's going to

12:32:39   2    say what the articles state.

12:32:42   3                THE COURT:     Yeah, I think you are and you're not.

12:32:44   4                THE WITNESS:     I'm sorry.     So I basically looked at the

12:32:46   5    articles for the history of Nextel.

12:32:46   6         BY MR. SCHWARTZ:

12:32:50   7    Q.   Did you do anything else with regard to your investigation?

12:32:57   8    A.   Yes.    I went to You Tube and typed in Nextel, and saw about

12:33:02   9    six to seven videos, again made by people in the industry, again

12:33:05 10     talking about the history of Nextel and the discontinue of

12:33:12 11     Nextel.     I also went to nextel.com because I figured if I'm

12:33:17 12     going to get on Nextel, it would be nextel.com.           And that was a

12:33:23 13     dead website.     It did not work.        And I also went to the USPTO

12:33:33 14     and as before, I investigated -- I put in Nextel and about 50 to

12:33:36 15     70 Nextel trademarks came.

12:33:44 16                 MR. RIOPELLE:     Objection, Your Honor.     Relevance.

12:33:48 17                 THE COURT:     Yeah, I don't see the relevance but I don't

12:33:51 18     see the harm either.        Let him finish the answer.

12:33:53 19                 THE WITNESS:     Thank you, Your Honor.     So I went there

12:33:58 20     and again, as part of my due diligence, I want to see what's

12:34:01 21     active and what's alive and what's dead, and I found only three

12:34:02 22     at that time.

12:34:04 23                 THE COURT:     That's enough.     I really have ruled that

12:34:08 24     these were irrelevant before, so don't try to --

12:34:09 25                 THE WITNESS:     Yes, sir.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 105 of 105
                                          127




12:34:10   1              MR. SCHWARTZ:    I thought Your Honor said don't bring in

12:34:13   2    all the different paperwork and stuff.

12:34:15   3              THE COURT:    Go ahead.    Ask a different question.

12:34:15   4         BY MR. SCHWARTZ:

12:34:20   5    Q.   Are there -- is Sprint a public company?

12:34:20   6    A.   Yes, it is.

12:34:24   7    Q.   Explain to the jury, what does that mean, a public company

12:34:26   8    versus a private company?

12:34:29   9    A.   A public company is they're behold to their shareholders.

12:34:33 10     You invest in it, you have the right to know what's going on in

12:34:34 11     that company.

12:34:37 12     Q.   And do public companies file reports online?

12:34:42 13     A.   Oh, yes.   One of the important things I forgot to mention

12:34:45 14     was as part of my due diligence I go to the Securities and

12:34:51 15     Exchange Commission, and I review the annual reports of these

12:34:54 16     companies that own these trademarks.

12:34:57 17     Q.   And did you do that for Sprint?

12:35:00 18     A.   Yes, I did it for Sprint.      And again, the important thing

12:35:04 19     about the annual report is that it tells the public how healthy

12:35:07 20     the company is.    It tells you the trademarks they own, the

12:35:11 21     companies they're buying, the companies they're selling, it has

12:35:16 22     everything about the company.       And I did Sprint.    I looked at

12:35:22 23     even Sprint Nextel before the merger.       I mean, after the merger.

12:35:28 24     Q.   And did you look at the filings that were prior to this time

12:35:29 25     period of January 2018?


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 106 of 106
                                          127




12:35:35   1    A.   Yes.    I started around 2012 and went all the way to 2018.

12:35:39   2    Each year I looked at the annual report.

12:35:59   3    Q.   What was your perception after you had concluded this

12:36:03   4    particular investigation as to Nextel?

12:36:08   5    A.   My perception was of all the brands I've brought back and

12:36:13   6    applied for, about 30 of them, this trademark brand had the most

12:36:22   7    convincing evidence to me that Sprint publicly told the public

12:36:23   8    that Nextel was discontinued.

12:36:28   9                MR. RIOPELLE:     Objection, Your Honor.    Hearsay.   He's

12:36:32 10     going to say what Sprint was telling the public.

12:36:34 11                 THE WITNESS:     I said what I believe, what I felt

12:36:39 12     through my years of experience that I felt that this brand was

12:36:41 13     discontinued.    With no intent to bring it back.

12:36:43 14                 THE COURT:     That's not what you said, but --

12:36:44 15                 THE WITNESS:     I apologize, Your Honor.

12:36:45 16                 THE COURT:     Go ahead.

12:36:57 17                 MR. SCHWARTZ:     Can I bring up Exhibit 5019, and it's in

12:37:00 18     evidence, Your Honor.       Can I publish this to the jury, Your

12:37:05 19     Honor?   Yes, I can't see the screens.      Thank you, Your Honor.

12:37:05 20          BY MR. SCHWARTZ:

12:37:07 21     Q.   Mr. Kaplan.

12:37:08 22     A.   Yes, sir.

12:37:13 23     Q.   Do you recognize this particular exhibit, 5019?

12:37:17 24     A.   Yes, this is one of the -- this is an article from the

12:37:19 25     Sprint newsroom.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 107 of 107
                                          127




12:37:22   1    Q.   And how did you come to see this particular article?

12:37:26   2    A.   This was from one of the links when I Google searched

12:37:27   3    Nextel.

12:37:29   4    Q.   And what was your understanding after reading this

12:37:32   5    particular article?

12:37:36   6    A.   May I refresh for a second?

12:37:37   7    Q.   Yes, of course.

12:37:40   8    A.   Thanks.

12:37:50   9                THE COURT:     Come on.   You have this document, you've

12:37:55 10     been sitting there and now you're going to read it to see what's

12:37:58 11     in it?     Ask a question.

12:37:58 12          BY MR. SCHWARTZ:

12:38:01 13     Q.   What was your perception after reading this particular

12:38:01 14     article?

12:38:04 15     A.   That this verified my conclusion that the Nextel was

12:38:08 16     discontinued, the brand.

12:38:13 17                 MR. KERNELL:     I'm finished with the exhibit, Your

12:38:15 18     Honor.

12:38:23 19                 THE COURT:     Take it off the screen please.   Thank you.

12:38:23 20          BY MR. SCHWARTZ:

12:38:28 21     Q.   Did you convey -- strike that.        Based upon your perception,

12:38:32 22     did you decide to go forward with the process of acquiring the

12:38:33 23     Nextel trademark?

12:38:35 24     A.   Yes.

12:38:53 25     Q.   Did Mr. Calabrese and Mr. Rivera have a company already


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                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 108 of 108
                                          127




12:38:54   1    named?

12:38:57   2    A.   Yes, they had a company called Nextel, Inc.

12:39:00   3    Q.   And did you establish a business relationship between

12:39:02   4    RetroBrands and Nextel, Inc.

12:39:07   5    A.   Yes.    We formed a licensor/licensee agreement.

12:39:10   6    Q.   And is that similar to what you described earlier where you

12:39:12   7    would get a royalty?

12:39:15   8    A.   Yes, because I personally knew not much about the industry.

12:39:20   9    And meeting Mr. Calabrese and Mr. Rivera with their multiple

12:39:23 10     years in the industry, I figured they knew what they were

12:39:28 11     talking about, about all this new technology to bring back the

12:39:30 12     Nextel brand with the new technologies.

12:39:33 13     Q.   And how is that royalty fee calculated?

12:39:40 14     A.   It's based on a quarterly report.      Every quarter they'll

12:39:43 15     send me their profit and loss statement, and I would get 10% of

12:39:46 16     the net, the net revenue.

12:39:49 17     Q.   And net revenue for the jury's sake?

12:39:54 18     A.   Yes, the gross revenue is the money coming in from air time,

12:40:01 19     subscriptions, selling of devices, et cetera, minus the cost to

12:40:03 20     pay for the air time and the cost to pay for the devices, plus

12:40:09 21     the expenses of employees, rent and so forth.        Then your bottom

12:40:13 22     number is what you made that quarter for three months.

12:40:19 23     Q.   And since the beginning of 2018 to the present, how much has

12:40:23 24     RetroBrands been paid in a royalty fee from Nextel, Inc.?

12:40:28 25     A.   Approximately 40 to 50,000.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 109 of 109
                                          127




12:40:35   1    Q.   If the revenue generated by Nextel was higher, RetroBrands'

12:40:37   2    would get a higher royalty fee?

12:40:40   3    A.   Oh yes.    Uh-huh.

12:40:54   4    Q.   At some point you were -- you being you personally -- were

12:40:56   5    sued by the Plaintiff Sprint?

12:41:00   6    A.   Yes.    I've received, I'm not sure if it was a subpoena or I

12:41:04   7    just don't recall, but I did receive notice that I was you know

12:41:06   8    being sued.

12:41:09   9    Q.   And that holds true for RetroBrands USA as well?

12:41:10 10     A.   Yes.

12:41:13 11     Q.   And you have another company Nextel Mobile Worldwide.

12:41:14 12     Correct?

12:41:14 13     A.   Yes.

12:41:17 14     Q.   And that particular company does what?

12:41:23 15     A.   That's a holding company.     My plan was to take the

12:41:27 16     intellectual property of Nextel which was with RetroBrands, and

12:41:32 17     to move it to this Nextel Mobile Worldwide as the holding

12:41:36 18     company, and then raise funds through that company for

12:41:37 19     investors.

12:41:41 20     Q.   And was that company also named as a Defendant in the

12:41:41 21     lawsuit?

12:41:44 22     A.   Yes.    That was also named as a Defendant.

12:41:50 23     Q.   And then was Mr. Calabrese and the company Nextel also named

12:41:51 24     as Defendants?

12:41:54 25     A.   Yes, they were also named.


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 110 of 110
                                          127




12:41:55   1    Q.   You reviewed the lawsuit?

12:41:57   2    A.   Yes, I went through the lawsuit.

12:41:59   3    Q.   And then did you decided to defend the lawsuit?

12:42:05   4    A.   Yes.    I felt everything in there was not true, and I knew I

12:42:09   5    was in for a big legal bill, but I guess I wanted to fight this

12:42:13   6    because I felt it's a great brand to bring back.

12:42:17   7    Q.   And did RetroBrands agree on behalf of everybody to pay the

12:42:18   8    legal fees?

12:42:22   9    A.   Yes, that's in the license agreement.

12:42:25 10     Q.   In the license agreement, if there's an issue between the

12:42:29 11     particular trademark or brand or product, then RetroBrands takes

12:42:31 12     care of --

12:42:36 13     A.   Yeah, there's a section where if a trademark is brought on

12:42:40 14     to us, I will pay for all the parties to the license.         And

12:42:44 15     there's also a section where if my licensee starts a lawsuit,

12:42:47 16     then I'm not going to be involved in it.

12:42:53 17     Q.   Was it your perception that the lawsuit interfered with

12:42:55 18     Nextel's business?

12:43:01 19     A.   Yes.    Cease and desist letters were sent and as anybody who

12:43:04 20     gets a letter like that, they get scared.

12:43:07 21     Q.   Did the royalty fees diminish?

12:43:11 22     A.   Well, we were just starting, it was 2018, and I'm not sure

12:43:15 23     when the letters went out, I think it was '19.         So it was first

12:43:19 24     starting, and then it just collapsed basically.

12:43:33 25     Q.   And have you incurred legal fees in this particular


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 111 of 111
                                          127




12:43:33   1    proceedings?

12:43:35   2    A.   Tremendous legal fees.

12:43:39   3    Q.   How much have you spent on behalf of yourself?

12:43:40   4    A.   As of beginning of the trial --

12:43:42   5                MR. RIOPELLE:   Objection, relevance.

12:43:43   6                THE COURT:   Hold on.

12:43:45   7                MR. SCHWARTZ:   Goes to damages, Your Honor.

12:43:47   8                MR. RIOPELLE:   Legal fees don't go to damages.      Not for

12:43:49   9    the jury.

12:43:52 10                 THE COURT:   True.   I'll sustain the objection as to

12:43:55 11     legal fees.

12:44:04 12                 MR. SCHWARTZ:   I don't have any further questions, Your

12:44:05 13     Honor.

12:44:07 14                 THE COURT:   Cross-examination?

12:44:14 15                                 CROSS-EXAMINATION

12:44:14 16          BY MR. RIOPELLE:

12:44:19 17     Q.   Mr. Kaplan.

12:44:19 18     A.   Yes, sir.

12:44:23 19     Q.   You said that you -- in your experience you had seen that

12:44:28 20     companies had parked trademarks at the USPTO, right?

12:44:30 21     A.   Yes, very common.

12:44:33 22     Q.   And that they weren't using them, right?

12:44:35 23     A.   Through my due diligence, correct.

12:44:41 24     Q.   Right.    But you know that the Nextel mark, as the issue in

12:44:43 25     this case, was renewed in 2015, right?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 112 of 112
                                          127




12:44:44   1    A.   Yes.

12:44:49   2    Q.   And you know that that was after the date that you claim

12:44:53   3    that Nextel and Sprint abandoned the mark, right?

12:44:54   4    A.   Yes.

12:44:54   5    Q.   So --

12:44:55   6    A.   Two years afterwards.

12:44:58   7    Q.   So they renewed the mark after you claim it was abandoned?

12:45:00   8    A.   Correct.

12:45:04   9    Q.   And you also said -- I think when on the renewal process you

12:45:10 10     said it had to be put on the packaging in a prominent manner,

12:45:10 11     right?

12:45:14 12     A.   Yes.     Very prominent to show the examiner.

12:45:19 13     Q.   Right.     You know that prominent -- the term prominent is not

12:45:22 14     in the statute, right?

12:45:24 15     A.   You're asking me a legal question?

12:45:27 16     Q.   You used the term prominent.

12:45:30 17     A.   It is in the Lanham Act.

12:45:36 18     Q.   In fact, doesn't the statute, when it's talking about use,

12:45:39 19     say can be placed in any manner?

12:45:41 20     A.   In a prominent manner.

12:45:50 21     Q.   Okay.     We'll see if that bears out.    Now, but the fact of

12:45:51 22     the matter is, right --

12:45:52 23     A.   Yes, sir.

12:45:56 24     Q.   Is that the examiners at the trademark office, they review

12:46:00 25     the specimens sent to them, right?


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 113 of 113
                                          127




12:46:06   1    A.   From my experience, they hardly review them, they just --

12:46:07   2    Q.   Wait, wait.

12:46:09   3               MR. SCHWARTZ:     Objection, Your Honor.     Can the witness

12:46:13   4    finish his answer?

12:46:28   5               THE COURT:     Hold on.     Let him answer it and then you

12:46:35   6    can ask him.    The question was the examiners at the trademark

12:46:42   7    office, they review the specimens sent to them, right?

12:46:43   8               THE WITNESS:     Yes, that's correct.

12:46:46   9               THE COURT:     You say yeah, but they don't really.

12:46:49 10                THE WITNESS:     Yes.     From my experience, and I've read

12:46:52 11     articles and blogs about these examiners that most of them are

12:46:55 12     right out of law school first year, and from my experience,

12:46:58 13     these examinations -- there's piles, and they do cursory reviews

12:47:05 14     and just move on.       They don't really examine every one properly.

12:47:08 15                THE COURT:     I'm going to strike that answer.     There is

12:47:11 16     absolutely no basis for that answer.         You know, it sounds like

12:47:14 17     you were looking over their shoulders.         You can't look at

12:47:17 18     Wikipedia or an article and decide that.         I'll strike the

12:47:24 19     answer.    The jury has to disregard that.       You may proceed.   Ask

12:47:28 20     another question.       Or ask a question, any question.

12:47:28 21          BY MR. RIOPELLE:

12:47:30 22     Q.   You've never worked as the Patent and Trademark Office,

12:47:31 23     correct?

12:47:32 24     A.   That's correct.

12:47:35 25     Q.   And you know that the Patent and Trademark Office examiners


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 114 of 114
                                          127




12:47:38   1    make the determination whether the specimen submitted is

12:47:39   2    sufficient; is that correct?

12:47:40   3    A.   That's correct.

12:47:45   4    Q.   And you know that in this case, the patent and trademark

12:47:49   5    examiners reviewed the specimens and renewed the Nextel

12:47:49   6    trademark.

12:47:51   7    A.   Correct.

12:47:57   8    Q.   And you were talking about how you went and looked at the US

12:48:01   9    patent and trademark database and you searched for Nextel,

12:48:01 10     right?

12:48:02 11     A.   Yes, sir.

12:48:05 12     Q.   And you saw that the two trademarks that are at issue in

12:48:08 13     this case were both live and valid, correct?

12:48:12 14     A.   No.   I only found -- I didn't know about the sound mark at

12:48:17 15     that time.    I was only looking at Nextel.      The sound mark has no

12:48:23 16     trademark.    But there's no words, so I found -- I found, again,

12:48:29 17     that was three of them per the lawsuit and the one today is the

12:48:32 18     one left on the trademark office.

12:48:33 19     Q.   But to answer my question --

12:48:34 20     A.   Yes, sir.

12:48:37 21     Q.   -- you saw that the Nextel trademark, when you went and

12:48:40 22     looked at the database, was alive and valid, right?

12:48:44 23     A.   Yes, the one for devices, correct.

12:48:57 24                MR. RIOPELLE:   And can we call up Exhibit 5019, Carl?

12:48:57 25          BY MR. RIOPELLE:


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 115 of 115
                                          127




12:49:02   1    Q.   This is the article you were talking about, correct?

12:49:03   2    A.   Yes, sir.

12:49:06   3    Q.   And this is one of the articles you said that you looked at

12:49:10   4    this and you said this led to your conclusion that they had

12:49:13   5    abandoned the Nextel trademark, right?

12:49:14   6               MR. SCHWARTZ:    Objection, Your Honor.     He never

12:49:18   7    testified to that.      He never even used that word.

12:49:22   8               THE COURT:    Well, now that you've told him, I bet he

12:49:25   9    could probably say that in response to the question.

12:49:25 10          BY MR. RIOPELLE:

12:49:26 11     Q.   Is this one of the articles you reviewed?

12:49:29 12     A.   This is one of the articles I reviewed, yes.

12:49:33 13     Q.   And you reviewed this, I believe you testified, in early

12:49:34 14     2018?

12:49:35 15     A.   Correct.

12:49:39 16     Q.   And this is an article from 2012, right?

12:49:39 17     A.   Correct.

12:49:44 18     Q.   So you made a decision in 2018 based on an article in 2012.

12:49:47 19     A.   Yes, among many other articles, yes sir.

12:49:52 20     Q.   And this article refers to the company as Sprint Nextel,

12:49:53 21     correct?

12:49:58 22     A.   Well, starts off just says Sprint.

12:50:00 23                MR. RIOPELLE:    Can we page down?

12:50:05 24          BY MR. RIOPELLE:

12:50:07 25     Q.   See where it says about Sprint Nextel?


                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 116 of 116
                                          127




12:50:10   1    A.   Yes, way at the bottom.     Yes, sir.

12:50:15   2    Q.   Now, you've been sitting in this courtroom all week, right?

12:50:16   3    A.   Yes, sir.

12:50:26   4    Q.   And, you know, you applied for the trademark on January 29,

12:50:28   5    2018, right?

12:50:29   6    A.   I believe so.

12:50:34   7    Q.   And when you did that, you knew that Sprint had challenged

12:50:37   8    Mr. Calabrese's right to use the mark, right?

12:50:38   9    A.   At that point, yes.

12:50:44 10     Q.   And you know that Sprint had sent to Mr. Calabrese and his

12:50:48 11     lawyer examples of how Sprint was using the Nextel trademark,

12:50:50 12     right?

12:50:55 13     A.   Examples, no.    I just saw cease and desist letters.

12:51:02 14     Q.   You know that Sprint's lawyers sent to Mr. Calabrese and his

12:51:09 15     lawyer in October of 2017 examples of Sprint using the Nextel

12:51:10 16     mark, don't you?

12:51:14 17     A.   That is not true.     I saw a letter from -- a cease and desist

12:51:16 18     letter.   That's all I saw when I went to Nextel, Inc.

12:51:24 19     Q.   And you know that Mr. Calabrese's lawyer reviewed that, and

12:51:32 20     then sent an e-mail in October of 2017 to Sprint telling them

12:51:36 21     that he, Mr. Calabrese, was stopping to use the mark, right?

12:51:40 22     A.   Yes, Mr. Calabrese was stopped using the mark.

12:51:43 23     Q.   And you know that, so you filed your trademark application

12:51:47 24     on January 29, 2018, right?

12:51:50 25     A.   Yes, under RetroBrands USA.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 117 of 117
                                          127




12:51:56   1    Q.   And you entered into an agreement with Mr. Calabrese on

12:51:58   2    January 30, 2018.

12:52:00   3    A.   Again, I don't have it in front of me, but it's probably

12:52:01   4    right.

12:52:05   5    Q.   And you issued a press release on February 6, 2018, correct?

12:52:06   6    A.   Yes, correct.

12:52:12   7    Q.   And then on February 8, 2018, Mr. Calabrese and his lawyer,

12:52:17   8    working with you, sent an e-mail to my client saying you can

12:52:20   9    close your file on this, we've stopped.

12:52:23 10     A.   Yes, because I took over the trademark application.

12:52:31 11     Q.   At the very beginning of your testimony you talked about how

12:52:33 12     the industry has changed, right?

12:52:34 13     A.   The cellular industry?

12:52:37 14     Q.   No, no.     You were talking about the trademark industry.

12:52:40 15     A.   Yes.     In regards to its many changes with e-commerce and so

12:52:41 16     forth.

12:52:47 17     Q.   Right.     But no matter how much the trademark industry has

12:52:51 18     changed, right, it hasn't changed in such a way that allows you

12:52:55 19     to infringe somebody else's trademarks, does it?

12:53:00 20     A.   No you cannot infringe a trademark that's in use.        Correct.

12:53:01 21                 MR. RIOPELLE:    Thank you, Your Honor.

12:53:04 22                 THE COURT:   Redirect.

12:53:06 23                 MR. SCHWARTZ:    Real brief Your Honor

12:53:06 24                                 REDIRECT EXAMINATION

12:53:06 25     BY MR. SCHWARTZ:


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 118 of 118
                                          127




12:53:10   1    Q.   Just because a company has a trademark doesn't prevent you

12:53:13   2    from filing an application to challenge it, correct?

12:53:15   3    A.   No.    That's what it's there for.

12:53:17   4    Q.   And that's done every day?

12:53:18   5    A.   That's done every day.

12:53:22   6    Q.   And with regard to Mr. Calabrese, he filed that on his own?

12:53:23   7    A.   Individually, yes.

12:53:25   8    Q.   What was his experience in dealing with the trademark

12:53:26   9    office?

12:53:28 10     A.   In my opinion, none whatsoever.

12:53:30 11     Q.   How many years did you have dealing with the trademark

12:53:31 12     office?

12:53:32 13     A.   Over 25.

12:53:34 14     Q.   And his application was filed back in 2016?

12:53:36 15     A.   Yes.

12:53:39 16     Q.   And I think I heard you say that he abandoned his

12:53:42 17     application and RetroBrands filed their own application,

12:53:42 18     correct?

12:53:45 19     A.   Yes, he withdrew his application.

12:53:46 20                 MR. SCHWARTZ:     No further questions.

12:53:49 21                 THE COURT:     All right.   Thank you, sir.   You are

12:53:50 22     excused.

12:53:50 23                 THE WITNESS:     Thank you, Your Honor.

12:53:52 24                 THE COURT:     All right.   Ladies and gentlemen, as I told

12:53:56 25     you, I have a sentencing at 1:15.        It's probably going to take


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 119 of 119
                                          127




12:53:59   1    me 30, 45 minutes, so we'll resume at 2:00.

12:54:02   2              Remember, don't talk to anybody, don't look at anybody,

12:54:06   3    don't let anybody look at you.        Go to eat lunch, don't get sick,

12:54:09   4    don't cross traffic in the middle of the block.           Be careful.

12:54:11   5    See you at 2:00.

12:54:18   6              COURT SECURITY OFFICER:       All rise.

12:54:20   7              THE COURT:    If you all could please wait in here and

12:54:23   8    give the jury a few minutes to clear the floor, and I want to

12:54:24   9    ask a question.

12:54:29 10               (Jury out at 12:54 p.m.)

12:54:53 11               THE COURT:    You all can be seated.        Is that door

12:54:55 12     closed, Madame Security Officer?        Now, it is.

12:54:58 13               Okay.    How many more witnesses?

12:54:59 14               MR. SCHWARTZ:    One, Your Honor.

12:55:00 15               THE COURT:    How long, who is it?

12:55:03 16               MR. SCHWARTZ:    It's Mr. Rivera, rebuttal witness.

12:55:05 17               THE COURT:    Okay.

12:55:06 18               MR. SCHWARTZ:    Did you ask how long?

12:55:08 19               THE COURT:    Yeah, I did ask how long.

12:55:10 20               MR. SCHWARTZ:    Under 30 minutes I would think.           Maybe

12:55:11 21     even less.

12:55:12 22               THE COURT:    Didn't we have this discussion as to

12:55:17 23     whether Mr. Rivera was disclosed?        Have we ruled?    Did I rule on

12:55:17 24     that?

12:55:18 25               MR. SCHWARTZ:    You did.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 120 of 120
                                          127




12:55:20   1              THE COURT:    What did I say?     I don't remember what I

12:55:24   2    had for breakfast, but I can look it up because Madame court

12:55:26   3    Reporter can tell me.

12:55:27   4              MR. SCHWARTZ:    Yes, Your Honor.     Your ruling was that

12:55:30   5    he could not be called in our direct case, he can be called as a

12:55:31   6    rebuttal witness.

12:55:33   7              THE COURT:    All right.    What are you rebutting?

12:55:36   8              MR. SCHWARTZ:    He's rebutting testimony of Ryan

12:55:40   9    Rabenold concerning the chirp sounds.        He's rebutting the issues

12:55:55 10     of quality of their phones.      He's rebutting issues related to

12:56:00 11     that video that was played by the Boston Nextel people that

12:56:03 12     claim certain things concerning the phones.          I'm sticking simply

12:56:08 13     to rebuttal, Your Honor.

12:56:11 14               MR. RIOPELLE:    That's not rebuttal.

12:56:12 15               MR. SCHWARTZ:    Your Honor --

12:56:15 16               MR. RIOPELLE:    They had that information.

12:56:17 17               THE COURT:    Doesn't fit to me the rebuttal --

12:56:19 18               MR. RIOPELLE:    I will just remind Your Honor, as a

12:56:25 19     noted jurist said in the Lips versus City of Hollywood case --

12:56:26 20               THE COURT:    Did I say that?

12:56:26 21               MR. RIOPELLE:    Yes, you did.

12:56:28 22               THE COURT:    Okay.

12:56:30 23               MR. RIOPELLE:    You said --

12:56:33 24               THE COURT:    Usually where it says noted very handsome

12:56:36 25     jurist it would have been better.        Go ahead.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 121 of 121
                                          127




12:56:37   1              MR. RIOPELLE:     I didn't want to be pandering, Your

12:56:38   2    Honor.

12:56:41   3              THE COURT:    This trial has driven me over the edge.       I

12:56:46   4    told my clerk yesterday that I was going to quit being a judge

12:56:48   5    and become a male model.        Go ahead.

12:56:51   6              MR. RIOPELLE:     It says a nondisclosed witness could not

12:56:55   7    be considered a rebuttal witness that would offer testimony that

12:56:58   8    could have been presented in case in chief.

12:56:59   9              THE COURT:    Yeah.     I mean, this stuff that you're

12:57:01 10     rebutting him on is stuff that you had.        There isn't anything

12:57:03 11     new in that.

12:57:04 12               MR. SCHWARTZ:     Your Honor, the witnesses testified as

12:57:08 13     to the lack of quality of the phones.       This one witness that was

12:57:12 14     in the box, Mr. Rabenold, said he heard the phone emitting the

12:57:18 15     actual Nextel chirp.      We intend to rebut that particular issue.

12:57:19 16     If you'd like me to keep --

12:57:23 17               THE COURT:    You got him that says that he didn't hear

12:57:25 18     the chirp?

12:57:27 19               MR. SCHWARTZ:     We have the phone, Your Honor, that was

12:57:29 20     on that video and --

12:57:31 21               THE COURT:    You can introduce it with somebody else.

12:57:34 22     You can do whatever you want with it, but this man is not a

12:57:37 23     witness unless he's a rebuttal witness, and rebuttal is

12:57:41 24     something that you didn't know about that came up that he can --

12:57:44 25     that he's the only one that can rebut.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 122 of 122
                                          127




12:57:45   1                MR. SCHWARTZ:   Your Honor, I didn't know that this

12:57:50   2    investigator from three years earlier, who came out of the blue,

12:57:54   3    his report was from 2018, and then in front of this jury he says

12:57:57   4    he watched a You Tube video and he believes that the sound

12:58:01   5    played on the You Tube video as the gentlemen were reviewing the

12:58:08   6    new Nextel phones emitted the chirp Nextel.         I think I'm

12:58:10   7    entitled to rebut that issue.

12:58:12   8                THE COURT:   It seems to me like you could play the

12:58:14   9    thing and the jury's the one that decides that.         That's not

12:58:15 10     rebuttal.

12:58:17 11                 What else you got?

12:58:19 12                 MR. SCHWARTZ:   Your Honor, he's my final witness and if

12:58:20 13     I'm --

12:58:22 14                 THE COURT:   Well, he might have been -- the one you

12:58:26 15     just had might have been your final witness, because from what

12:58:31 16     you've told me so far, I'm not letting him testify to that.

12:58:43 17                 MR. SCHWARTZ:   My co-counsel believes that the video

12:58:48 18     that was shown and played for Mr. Rabenold was produced outside

12:58:50 19     the scope of the discovery period, and so I think we should have

12:58:53 20     an opportunity to rebut that.

12:58:55 21                 THE COURT:   Are you sure about that?     I mean, I don't

12:58:58 22     know.    It seems to me that if it had been, somebody would have

12:59:04 23     objected to it.     I have no idea.    I don't know what was

12:59:05 24     disclosed.

12:59:15 25                 MR. RIOPELLE:   If I recall, Your Honor, first of all,


                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 123 of 123
                                          127




12:59:18   1    the chirp was discussed in Mr. Rabenold's report which was given

12:59:22   2    to them three years ago.        The video is made by one of their

12:59:29   3    dealers, and Mr. Rabenold testified on the stand that that video

12:59:34   4    had come out in February of 2022, there was no objection to it.

12:59:35   5              THE COURT:    That's right.     I remember the video you're

12:59:36   6    talking about.

12:59:39   7              MR. RIOPELLE:    There was no objection, no comment about

12:59:40   8    it at all.

12:59:41   9              THE COURT:    Yeah.     No.

12:59:42 10               MR. SCHWARTZ:    But Your Honor, the report stated that

12:59:47 11     the phone did not make the chirp sound.        What the Plaintiff did

12:59:50 12     is they brought him back three years later simply to offer him

12:59:54 13     to listen to a You Tube video which we had no idea what he was

12:59:58 14     going to say, and then in order to prejudice the jury, he says

 1:00:02 15     oh, I think I heard the Nextel phone emit the chirp sound.

 1:00:06 16               THE COURT:    I thought that his testimony was that the

 1:00:11 17     representative at the show told him it did not emit the chirp.

 1:00:14 18               MR. SCHWARTZ:    No, what he said, Your Honor, is on the

 1:00:19 19     very first purchase in 2018 he called up Northeast radio, asked

 1:00:23 20     them about the phones, and he asked them about oh, does it play

 1:00:27 21     the Nextel chirp and the gentleman said no, it doesn't play the

 1:00:28 22     Nextel chirp and that's --

 1:00:30 23               THE COURT:    That's what I just said.

 1:00:33 24               MR. SCHWARTZ:    That was in his report.      Then three

 1:00:37 25     years later, having nothing to do with his investigation or


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 124 of 124
                                         127




1:00:41   1    anything he's done, he comes into this court and he says oh, I

1:00:46   2    watched this You Tube video and I think I heard the --

1:00:49   3              THE COURT:    Oh okay, the You Tube video.      But what he

1:00:53   4    said was that he didn't try to listen to it, he didn't even turn

1:00:56   5    it on if I remember correctly.      That he asked the person and

1:00:59   6    that the person said it did not have the chirp.

1:01:02   7              MR. SCHWARTZ:    That was his first part of his testimony

1:01:07   8    concerning his written report from 2018.        Then fast forward

1:01:11   9    three years or four years -- actually to only you said a month

1:01:16 10     ago, he's, I guess, on his couch watching a You Tube video, or

1:01:20 11     he was told to watch it by counsel from the Plaintiff, and then

1:01:24 12     he miraculously -- he's not an audio expert, he says oh, they

1:01:27 13     were reviewing the phones and I think it emitted the Nextel

1:01:28 14     chirp and I think --

1:01:30 15               THE COURT:    You want to put Mr. Garcia (sic) on to say

1:01:33 16     that's not the Nextel chirp?

1:01:36 17               MR. SCHWARTZ:    I have the phone, the model that's in

1:01:39 18     the video and he can play the phone.

1:01:41 19               THE COURT:    Anybody can do that.     Any of your witnesses

1:01:45 20     that you've listed could do that.       He's not going to do it, no.

1:01:49 21     That's a backwards way of getting him on the stand, and I said

1:01:53 22     no, that he can't, unless he's a rebuttal witness.         But he's got

1:01:56 23     to have something that he can rebut that isn't -- I mean, you

1:01:59 24     can play it for the jury, let them decide whether it's the

1:02:00 25     Nextel chirp.


                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 125 of 125
                                         127




1:02:03   1               MR. KERNELL:     Your Honor, if I could point out in the

1:02:07   2    Exhibit 93 which is Mr. Rabenold's report?

1:02:07   3               THE COURT:     Yeah.

1:02:13   4               MR. KERNELL:     This is on -- it starts on Page 3 of his

1:02:17   5    report and goes into Page 4, and he states that during the

1:02:20   6    evidence-handling process, I noted the following details.          This

1:02:26   7    is after he received the phones, and now he's putting in his own

1:02:30   8    details, not opinions of others, nothing else.          He says there's

1:02:36   9    a packing slip, a radio clip, there's a black and yellow Nextel

1:02:41 10     sticker.   Then at the top of Page 4, the first bullet point, he

1:02:45 11     states when you turn the radios on a noise is emitted, but it

1:02:49 12     doesn't appear to be the Nextel chirp.

1:02:51 13                THE COURT:     That's what I said.

1:02:53 14                MR. KERNELL:     No.   So he said that is Mr. Rabenold

1:02:57 15     saying that in his report.        We had no idea that he was going to

1:03:03 16     be up here testifying as an expert now that says oh, a month in

1:03:08 17     -- a video that came out a month or two ago there's now a Nextel

1:03:14 18     chirp in that video.      We had no way of knowing that.      That he

1:03:19 19     was going to testify to something that he directly contradicted.

1:03:22 20                THE COURT:     This is about the third version of what he

1:03:25 21     has said that I'm listening to now, and I'm getting a little

1:03:27 22     tired of it.

1:03:28 23                MR. KERNELL:     This is directly out of his report.

1:03:31 24                THE COURT:     I understand that.    I was told -- no, the

1:03:34 25     record will be the record.        No.   Not for that.


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 126 of 126
                                         127




1:03:40   1               What else you got?        All right.     Tell me at 2:00.     I got

1:03:47   2    to get ready for my sentencing.

1:03:52   3               And I want to tell you that I really don't think I'm

1:03:55   4    going to have court tomorrow.         Sorry.      You're going to have to

1:04:01   5    fly home and appease your wife somehow.             Buy her a Bentley

1:04:07   6    convertible.     Partners in big firms always have many.          You can

1:04:10   7    do that.   No, I just don't think I can do it.            For my reasons.

1:04:16   8    It is Good Friday, and I'm going to be doing other things than

1:04:18   9    this.   Sorry.

1:04:20 10                MR. SCHWARTZ:     Just for the Court's scheduling and

1:04:24 11     everything, and we can announce when we get back, but we're

1:04:28 12     leaning -- you know, that would have been our last witness so we

1:04:29 13     can come back at lunch --

1:04:32 14                THE COURT:     And if so, then we'll let the jury go until

1:04:35 15     Monday and we'll spend the afternoon talking about instructions

1:04:41 16     and closing out the final arguments, and bring them back because

1:04:43 17     otherwise, even if we do, I don't want them to have the pressure

1:04:47 18     of wanting to go home on a holiday weekend if they feel like

1:04:51 19     they want to keep deliberating.         I don't want to put the

1:04:55 20     pressure on them.       It's a Christian and Jewish holiday coming

1:04:58 21     up, and I don't really feel like I want to put that kind of

1:05:02 22     pressure on them.       All right?    Tell your wife I'm sorry.         I'm

1:05:05 23     not that sorry, but I'm sorry.

1:05:07 24                All right.     We'll be in recess.

1:05:07 25                (Lunch recess)


                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 323 Entered on FLSD Docket 05/11/2022 Page 127 of 127
                                         127




1:05:07    1               (See Volume 6 for continuation)

1:05:07    2                         C E R T I F I C A T E
               I certify that the foregoing is a correct transcript from the
1:05:07    3   record of proceedings in the above-entitled matter.

1:05:07    4   4/14/2022                 /s/ Dawn M. Savino, R.P.R., C.R.R.
               Date                          DAWN M. SAVINO, R.P.R., C.R.R.
1:05:07    5
                                               I N D E X
1:05:07    6
                                               WITNESSES
1:05:07    7
               ALL WITNESSES:                                             PAGE:
1:05:07    8
               For Defense:
1:05:07    9
                 Stephen Calabrese:
1:05:07 10         Deposition read into the record by                     17:2

1:05:07 11       Melissa Jobe:
                   Deposition read into the record by                     61:17
1:05:07 12
                 Jeffrey Kaplan:
1:05:07 13         Direct Examination by Mr. Schwartz                     92:21
                   Cross-Examination by Mr. Riopelle                      111:15
1:05:07 14         Redirect Examination by Mr. Schwartz                   117:24

1:05:07 15                                     EXHIBITS

1:05:07 16     None

1:05:07 17

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